      Case 1:22-cv-00208-JPW Document 49-7   Filed
                                        Received    02/27/22
                                                 1/29/2022 4:01:59Page  1 of 76
                                                                   PM Supreme Court Middle District

                                                       Filed 01/29/2022 Supreme Court Middle District
                                                                        7 MM 2022


              IN THE SUPREME COURT OF PENNSYLVANIA

CAROL ANN CARTER; MONICA PARRILLA;
REBECCA POYOUROW; WILLIAM TUNG; ROSEANNE
MILAZZO; BURT SIEGEL; SUSAN CASSANELLI; LEE                                 No. ______
CASSANELLI; LYNN WACHMAN; MICHAEL                                           ______________
GUTTMAN; MAYA FONKEU; BRADY HILL; MARY
ELLEN BALCHUNIS; TOM DEWALL; STEPHANIE
MCNULTY; and JANET TEMIN,
                    Petitioners,
     v.
LEIGH M. CHAPMAN, in her official capacity as the Acting




                                                             M
                                                           O
Secretary of the Commonwealth of Pennsylvania; JESSICA



                                                          C
                                                        T.
MATHIS, in her official capacity as Director for the

                                                      KE
Pennsylvania Bureau of Election Services and Notaries,
                                                     C
                                                   O
                                                 YD

                    Respondents.
                                               AC
                                              R
                                            C
                                            O
                                         EM
                                        D
                                      M




      CARTER PETITIONERS’ EMERGENCY APPLICATION FOR
                                    O
                                   FR




               EXTRAORDINARY RELIEF UNDER
                                D
                              VE




               42 PA. C.S. § 726 AND PA. R.A.P. 3309
                            IE
                           R
                         ET
                        R
         Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 2 of 76




                                        TABLE OF CONTENTS

INTRODUCTION .....................................................................................................1
ARGUMENT .............................................................................................................2
I. This Court has the power to assume extraordinary jurisdiction over the
   Redistricting Litigation. .......................................................................................2
II. This Court should immediately assume extraordinary jurisdiction over the
    Redistricting Litigation. .......................................................................................4
CONCLUSION ..........................................................................................................7




                                                                               M
                                                                              O
                                                                            C
                                                                         T.
                                                                       KE
                                                                      C
                                                                   O
                                                                 YD
                                                                AC
                                                               R
                                                           C
                                                         O
                                                      EM
                                                    D
                                                  M
                                                O
                                             FR
                                          D
                                        VE
                                      IE
                                    R
                                  ET
                                R




                                                           i
          Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 3 of 76




                                        TABLE OF AUTHORITIES

                                                                                                                   Page(s)

Cases
Bd. of Revision of Taxes v. City of Phila.,
   4 A.3d 610 (Pa. 2010) ....................................................................................... 2, 7

Branch v. Smith,
   538 U.S. 254 (2003) .............................................................................................. 7

Carter et. al. v. Degraffenreid et al.,
  No. 132 MD 2021 ................................................................................................. 5

Carter, et al. v. Chapman, et al.,




                                                                                    M
  Case No. 464 MD 2021 .................................................................................... 1, 7




                                                                                   O
                                                                                 C
                                                                             T.
                                                                           KE
Carter, et al. v. Degraffenreid, et al.,
                                                                          C
                                                                       O
  Case No. 141 MM 2021........................................................................................ 1
                                                                     YD
                                                                    AC
                                                                   R




Gressman, et al. v. Chapman, et al.,
                                                               C
                                                             O




  Case No. 465 MD 2021 .................................................................................... 1, 8
                                                         EM
                                                        D
                                                     M




League of Women Voters of Pa. v. Commonwealth,
                                                   O
                                                FR




   181 A.3d 1803................................................................................................... 3, 7
                                             D
                                           VE
                                         IE




Mellow v. Mitchell,
                                      R
                                    ET




  607 A.2d 204 (Pa. 1992) ................................................................................... 3, 6
                                   R




Shayer v. Kirkpatrick,
   541 F. Supp. 922 (W.D. Mo.), aff’d, 456 U.S. 966 (1982) .................................. 7

Wesberry v. Sanders,
  376 U.S. 1 (1964) .................................................................................................. 3

Statutes
42 Pa. C.S. § 726 ........................................................................................................ 2

2 U.S.C. § 2 ................................................................................................................ 7




                                                              ii
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 4 of 76




                                 INTRODUCTION

      On December 21, 2021, the Carter Petitioners1 filed an Application for

Extraordinary Relief in this Court captioned Carter, et al. v. Degraffenreid, et al.,

Case No. 141 MM 2021 (“First Application”). In the First Application, the Carter

Petitioners requested that the Court assume extraordinary jurisdiction over an

original jurisdiction action pending in the Commonwealth Court captioned, Carter,

et al. v. Chapman, et al., Case No. 464 MD 2021, lead case, consolidated with

Gressman, et al. v. Chapman, et al., Case No. 465 MD 2021 (collectively, the




                                                         M
                                                         O
                                                        C
                                                        T.
“Redistricting Litigation”). On January 10, 2022, this Court denied the Carter
                                                      KE
                                                     C
                                                  O
                                                YD

Petitioners’ Application for Extraordinary Relief without prejudice to their right “to
                                                AC
                                               R
                                           C
                                           O




reapply for similar relief in this Court, as future developments may dictate.”
                                       EM
                                       D
                                    M
                                   O




      Two recent developments dictate that the Court immediately assume
                                 FR
                               D
                             VE




extraordinary jurisdiction over the Redistricting Litigation. First, on January 26,
                            IE
                          R
                        ET
                       R




2022, Governor Tom Wolf vetoed the congressional districting map passed by the

Pennsylvania General Assembly. The political branches have now irreversibly failed

to deliver a final plan by January 24, 2022—the deadline by which the Department

of State has said it would need to receive a legally binding map in order to “properly



1
 The Carter Petitioners consist of Carol Ann Carter, Monica Parrilla, Rebecca
Poyourow, William Tung, Roseanne Milazzo, Burt Siegel, Susan Cassanelli, Lee
Cassanelli, Lynn Wachman, Michael Guttman, Maya Fonkeu, Brady Hill, Mary
Ellen Balchunis, Tom Dewall, Stephanie Mcnulty, and Janet Temin.

                                           1
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 5 of 76




implement” the next election cycle, reduce “errors,” and provide “timely notice to

candidates.” Second, the Commonwealth Court in the Redistricting Litigation has

now resolved all predicate issues of intervention, and the evidentiary record is

complete. But any decision from the Commonwealth Court will certainly be

appealed to this Court by one or more of the eight parties.

      In these circumstances, this Court should not wait to accept jurisdiction

through Chapter 9 of the Rules of Appellate Procedure and the attendant delays.

Every moment that has passed since the Legislature missed the January 24 deadline




                                                          M
                                                          O
                                                        C
                                                        T.
                                                      KE
is precious, and there is no reason this Court should let additional time pass. Now
                                                     C
                                                  O
                                                YD

that the evidentiary record is closed, this Court should immediately take
                                                AC
                                               R
                                           C
                                           O




extraordinary jurisdiction, adopt a map as soon as possible, and provide all
                                       EM
                                       D
                                    M
                                   O




Pennsylvanians with the finality they so urgently seek.
                                FR
                               D
                             VE




                                   ARGUMENT
                           IE
                          R
                        ET
                       R




I.    This Court has the power to assume extraordinary jurisdiction over the
      Redistricting Litigation.
      Under 42 Pa. C.S. § 726, “[t]his Court may assume, at its discretion, plenary

jurisdiction over a matter of immediate public importance that is pending before

another court of this Commonwealth.” Bd. of Revision of Taxes v. City of Phila., 4

A.3d 610, 620 (Pa. 2010). Just as it has done in the past to resolve redistricting

deadlocks, this Court should exercise its extraordinary jurisdiction to ensure

Pennsylvania has constitutional congressional districts for the 2022 election. This

                                           2
       Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 6 of 76




Court’s swift intervention is necessary to protect the constitutional rights of millions

of Pennsylvania voters.

      The last time Pennsylvania’s judiciary was required to remedy an impasse

following the decennial census, this Court quickly exercised extraordinary

jurisdiction over the case. See Mellow v. Mitchell, 607 A.2d 204 (Pa. 1992).

Similarly, in League of Women Voters of Pennsylvania v. Commonwealth, this Court

exercised its extraordinary jurisdiction powers to ensure Pennsylvania would have

constitutional congressional plans for the 2018 election cycle. See 181 A.3d 1083




                                                          M
                                                          O
                                                         C
                                                         T.
                                                       KE
(Pa. 2018). This time, too, there is no question that the issue is of immediate and
                                                      C
                                                   O
                                                 YD

crucial public importance—the new reapportionment plan will affect every
                                                 AC
                                                R
                                            C
                                            O




Pennsylvania voter and every candidate who intends to run to represent the
                                        EM
                                        D
                                     M
                                    O




Commonwealth. And Petitioners’ rights are clear: continued malapportionment
                                 FR
                                D
                              VE




would violate not only the Pennsylvania Constitution, but also the “[U.S.]
                            IE
                            R
                          ET
                        R




Constitution’s plain objective of [] equal representation for equal numbers. . . .”

Wesberry v. Sanders, 376 U.S. 1, 18 (1964).

      Indeed, as this Court has previously recognized, “[w]hen the legislature is

unable or chooses not to act, it becomes the judiciary’s role to ensure a valid

districting scheme.” League of Women Voters of Pa., 181 A.3d at 1086 n.6. That is

precisely where we find ourselves today.




                                            3
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 7 of 76




II.   This Court should immediately assume extraordinary jurisdiction over
      the Redistricting Litigation.
      Time remains of the essence in this impasse litigation,2 and recent

developments only further justify this Court’s immediate intervention.

      First, since Carter Petitioners’ First Application, the State’s asserted deadline

for timely implementation of a map has passed. Respondents, the Acting Secretary

and Director for the Pennsylvania Bureau of Election Services and Notaries, stated

in prior litigation that a final map must be in place by January 24, 2022 to ensure an




                                                         M
                                                         O
efficient election, reduce errors, allow timely notice to candidates, and properly



                                                        C
                                                        T.
                                                      KE
implement new congressional districts:               C
                                                  O
                                                YD
                                                AC



            In order to ensure efficient election administration, allow
                                               R
                                           C
                                           O




            for timely notice to candidates, and permit proper
                                       EM




            implementation of the new congressional districts,
                                       D
                                    M




            Respondents believe that that the Department of State must
                                   O
                                 FR




            receive a finally and legally binding congressional district
                               D
                             VE




            map no later than January 24, 2022.
                            IE
                          R
                        ET




Ex. A, at 9 (emphasis added); see also Ex. B ¶ 15 (pp. 8–9) (“[I]n order to help the
                       R




counties reduce errors . . . the Department of State must receive a final and legally

binding congressional district map no later than January 24, 2022.”) (emphasis

added).3


2
  See First Application, January 10, 2022 Dissenting Statement (J. Wecht,
dissenting) (“[O]ur immediate intervention is warranted.”).
3
  Attached hereto as Exhibit A is a copy of Respondents’ Brief in Support of
Preliminary Objections to Petitioners’ Petition for Review, filed September 16, 2021

                                           4
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 8 of 76




      Second, there is no longer any prospect that the legislative process will timely

yield a final map. On January 26, 2022, the Governor of Pennsylvania vetoed House

Bill 2146, the proposed reapportionment plan passed by the General Assembly.4 It

is now certain that adoption of a congressional map will fall to the judiciary.

      Third, there is no reason for this Court to wait for the inevitable appeal from

the Commonwealth Court’s order in the Redistricting Litigation. There are currently

eight parties and thirteen maps before the Commonwealth Court, which has

indicated it will not issue a final order until next week.5 Even with the capable and




                                                          M
                                                         O
                                                        C
                                                        T.
                                                      KE
diligent efforts of the Commonwealth Court, this Court, and the numerous counsel
                                                     C
                                                  O
                                                YD

in the Redistricting Litigation, the drafting, filing, and resolution of the parties’
                                                AC
                                               R
                                           C
                                           O




jurisdictional statements, consolidation motions, and merits briefs will needlessly
                                       EM
                                       D
                                    M
                                   O




delay this Court’s consideration of the critical question affecting citizens all across
                                 FR
                               D
                             VE
                            IE
                           R
                         ET
                        R




in Carter et. al. v. Degraffenreid et al., No. 132 MD 2021. Attached hereto as Exhibit
B is a copy of Respondents’ Preliminary Objections to Petitioners’ Petition for
Review, filed July 1, 2021 in that same action.
4
    A copy of the Governor’s veto message can be found at
https://www.governor.pa.gov/wp-content/uploads/2022/01/20220126-HB-2146-
Veto-Message.pdf.
5
  Attached hereto as Exhibit C is a copy of the Commonwealth Court’s January 14,
2022 Order in the Redistricting Litigation, stating at paragraph 12 that “If the
General Assembly has not produced a new congressional map by January 30, 2022,
the Court shall proceed to issue an opinion based on the hearing and evidence
presented by the parties.”

                                           5
       Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 9 of 76




this Commonwealth: which map will govern congressional elections in

Pennsylvania for the next decade?

      Indeed, this Court could not be better equipped to immediately assume

jurisdiction. Since January 10, 2022, the Commonwealth Court has adroitly resolved

all predicate issues of intervention and orchestrated a complex evidentiary hearing,

including submissions of thirteen maps by eight parties and four Amici Curiae, direct

and cross examination of six expert witnesses, and supplemental evidence. The hard

work of factfinding has been completed, and this Court will have the benefit of that




                                                          M
                                                          O
                                                         C
                                                         T.
                                                       KE
full record.
                                                      C
                                                   O
                                                 YD

      Importantly, this Court’s exercise of jurisdiction prior to a final order from the
                                                 AC
                                                R
                                            C
                                            O




Commonwealth Court need not alter           the Commonwealth Court’s evidentiary
                                        EM
                                        D
                                    M
                                    O




proceedings and subsequent activities. The Commonwealth Court could simply
                                 FR
                               D
                             VE




report its recommendations to this Court in the capacity of a “special master” under
                            IE
                          R
                        ET
                       R




the auspices of this Honorable Court. See Mitchell, 607 A.2d at 206 (Commonwealth

Court judge designated as Master to conduct hearings and “report to” the Supreme

Court); First Application, January 10, 2022 Dissenting Statement (J. Wecht,

dissenting) (observing that a special master should be appointed to make a

recommendation to the Court). Upon receipt of the Commonwealth Court’s report,

this Court can issue a final map expeditiously without resolving any procedural




                                            6
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 10 of 76




mechanics or requiring any further action by the parties.6

      In short, it is still feasible for this Court to exercise extraordinary jurisdiction

and timely resolve the unquestionable need for a new, constitutional congressional

map for the Commonwealth.

      This Court’s extraordinary jurisdiction power—which recognizes the Court’s

“broad authority to craft meaningful remedies”—was made for this unique and

historical moment. See League of Women Voters, 181 A.3d at 1086 n.6. As this Court

has already recognized, “[s]wift resolution” of matters such as these is essential to




                                                           M
                                                          O
                                                         C
                                                         T.
                                                       KE
“promote confidence in the authority and integrity of [this Commonwealth’s]
                                                      C
                                                   O
                                                 YD

institutions.” Bd. of Revision, 4 A.3d at 620.
                                                 AC
                                                R
                                            C
                                            O
                                        EM




                                   CONCLUSION
                                        D
                                     M
                                    O




      For all the foregoing reasons, the Carter Petitioners respectfully request that
                                  FR
                                D
                              VE




this Court grant the Emergency Application for Extraordinary Relief, immediately
                            IE
                           R
                         ET
                        R




take extraordinary jurisdiction over Carter et al. v. Chapman et al., No 464 MD




6
 Notably, the “backstop” of at-large elections under 2 U.S.C. § 2a(c) does not justify
any further delay. Section 2a(c) must not and cannot be invoked “as long as it is
feasible” to adopt a constitutional final map. See Branch v. Smith, 538 U.S. 254, 275
(2003); see also Shayer v. Kirkpatrick, 541 F. Supp. 922 (W.D. Mo.), aff’d, 456 U.S.
966 (1982) (observing “distaste” for at-large elections; “the only appropriate
remedy” for a legislature’s failure to adopt a plan is court-ordered apportionment);
First Application, January 10, 2022 Dissenting Statement (J. Wecht, dissenting)
(observing risks of defaulting to at-large elections including dilutive effect upon
minority voters).
                                            7
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 11 of 76




2021, lead case, consolidated with Gressman et al. v. Chapman et al., No. 465 MD

2021, and expeditiously implement proceedings to finally resolve both actions.




Dated: January 29, 2021                        Respectfully submitted,

Abha Khanna*                                   /s/ Edward D. Rogers
Elias Law Group LLP                            Edward D. Rogers, No. 69337
1700 Seventh Ave, Suite 2100                   Marcel S. Pratt, No. 307483
Seattle, WA 98101                              Robert J. Clark, No. 308105




                                                         M
                                                        O
akhanna@elias.law                              Michael R. McDonald, No. 326873



                                                       C
                                                       T.
T: (206) 656-0177                              Paul K. Ort, No. 326044

                                                     KE
                                                    C
                                               Clayton Keir, No. 330486
                                                 O
                                               YD

Lalitha D. Madduri*                            Alexa Levy, No. 327973
                                               AC



Christina A. Ford*                             Ballard Spahr LLP
                                              R
                                          C
                                          O




Jyoti Jasrasaria*                              1735 Market Street, 51st Floor
                                      EM




Joseph N. Posimato*                            Philadelphia, PA 19103
                                      D
                                  M




Raisa M. Cramer*                               RogersE@ballardspahr.com
                                  O
                               FR




Elias Law Group LLP                            PrattM@ballardspahr.com
                              D
                            VE




10 G St. NE, Suite 600                         ClarkR@ballardspahr.com
                          IE
                         R




Washington, D.C. 20002                         McDonaldM@ballardspahr.com
                       ET




lmadduri@elias.law                             OrtP@ballardspahr.com
                      R




cford@elias.law                                KeirC@ballardspahr.com
jjasrasaria@elias.law                          LevyA@ballardspahr.com
jposimato@elias.law                            T: (215) 665-8500
rcramer@elias.law                              F: (215) 864-8999
T: (202) 968-4490
                                               *pro hac vice forthcoming
Matthew Gordon*
Perkins Coie LLP
1201 Third Avenue Suite 4900
Seattle, WA 98101
MGordon@perkinscoie.com
T: (206) 359-3552


                                          8
Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 12 of 76




                                             M
                                             O
                                            C
                                            T.
                                          KE
                                         C
                 EXHIBIT A
                                        O
                                      YD
                                    AC
                                   R
                                  C
                                  O
                              EM
                              D
                          M
                          O
                        FR
                      D
                    VE
                   IE
                  R
                ET
               R
    Case 1:22-cv-00208-JPW Document 49-79/16/2021
                                Received   Filed 6:42:17
                                                  02/27/22   Page 13 ofCourt
                                                         PM Commonwealth 76 of Pennsylvania

                                          Filed 9/16/2021 6:42:00 PM Commonwealth Court of Pennsylvania
                                                                                           132 MD 2021

HANGLEY ARONCHICK SEGAL                      PENNSYLVANIA DEPARTMENT OF
PUDLIN & SCHILLER                            STATE
Michele D. Hangley (I.D. No. 82779)          Kathleen M. Kotula (I.D. No. 318947)
Robert A. Wiygul (I.D. No. 310760)           306 North Office Bldg., 401 North Street
John B. Hill (I.D. No. 328340)               Harrisburg, PA 17120-0500
One Logan Square, 27th Floor                 (717) 783-1657
Philadelphia, PA 19103-6933
(215) 568-6200                               TUCKER LAW GROUP, LLC
                                             Joe H. Tucker, Jr. (I.D. No. 56617)
OFFICE OF ATTORNEY GENERAL                   Dimitrios Mavroudis (I.D. No. 93773)
Karen M. Romano (I.D. No. 88848)             Jessica A. Rickabaugh (I.D. No. 200189)
Keli M. Neary (I.D. No. 205178)              1801 Market Street, Suite 2500
Caleb Enerson (I.D. No. 313832)              Philadelphia, PA 19103
15th Floor, Strawberry Square                (215) 875-0609
Harrisburg, PA 17120




                                                           M
                                                         O
(717) 787-2717



                                                        C
                                                     T.
                                                   KE
PENNSYLVANIA GOVERNOR’S                           C
                                             Counsel for Respondents
                                                 O
                                               YD

OFFICE OF GENERAL COUNSEL
                                           AC




Kenneth L. Joel (I.D. No. 72370)
                                          R
                                         C
                                         O




333 Market Street, 17th Floor
                                     EM




Harrisburg, PA 17101
                                     D
                                  M




(717) 787-9348
                                 O
                               FR
                             D
                           VE




      IN THE COMMONWEALTH COURT OF PENNSYLVANIA
                         IE
                        R
                      ET
                     R




  CAROL ANN CARTER, et al.,
            Petitioners,
      v.

  VERONICA DEGRAFFENREID, in her official
  capacity as Acting Secretary of the Commonwealth of
  Pennsylvania, et al.,
                Respondents.
                                                                        No. 132 MD 2021

       RESPONDENTS’ BRIEF IN SUPPORT OF PRELIMINARY
      OBJECTIONS TO PETITIONERS’ PETITION FOR REVIEW
       Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 14 of 76




                                                TABLE OF CONTENTS



I.     INTRODUCTION ...............................................................................................................1

II.    STATEMENT OF JURISDICTION ...................................................................................2

III.   STATEMENT OF THE CASE............................................................................................2

IV.    STATEMENT OF THE QUESTIONS INVOLVED ..........................................................6

V.     ARGUMENT .......................................................................................................................6

VI.    CONCLUSION ..................................................................................................................10




                                                                                         M
                                                                                       O
                                                                                      C
                                                                                   T.
                                                                               KE
                                                                              C
                                                                           O
                                                                         YD
                                                                     AC
                                                                   R
                                                                 C
                                                               O
                                                            EM
                                                          D
                                                       M
                                                     O
                                                  FR
                                              D
                                            VE
                                         IE
                                      R
                                    ET
                                  R
        Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 15 of 76




                                    TABLE OF AUTHORITIES

                                                                                                         Page(s)

Cases
Arrington v. Elections Board,
   173 F. Supp. 2d 856 (E.D. Wisc. 2001)................................................................ 9

Bayada Nurses, Inc. v. Department of Labor and Industry,
  8 A.3d 866 (Pa. 2010) ...........................................................................................6

Garcia v. 2011 Legislative Reapportionment Commission,
  559 Fed. Appx. 128 (3d Cir. 2014) .....................................................................10

League of Women Voters v. Commonwealth,
   178 A.3d 737 (Pa. 2018) .......................................................................................5




                                                                             M
                                                                           O
                                                                           C
                                                                        T.
                                                                     KE
Markham v. Wolf,
                                                                    C
  136 A.3d 134 (Pa. 2016) .......................................................................................6
                                                                   O
                                                                 YD
                                                             AC




Philips Brothers Electrical Contractors, Inc. v. Pennsylvania
                                                             R
                                                         C
                                                        O




   Turnpike Commission,
                                                    EM




   960 A.2d 941 (Pa. Commw. Ct. 2008) ................................................................. 7
                                                   D
                                                 M
                                               O
                                            FR




Pittsburgh Palisades Park, LLC v. Commonwealth,
                                         D




   888 A.2d 655 (Pa. 2005) ...................................................................................6, 8
                                       VE
                                     IE
                                   R
                                 ET




Robinson Township, Washington County v. Commonwealth,
                                R




  83 A.3d 901 (Pa. 2013) .........................................................................................7
Sachs v. Simon,
   No. A21-0546 (Minn. Spec. Redistricting Panel Sept. 13, 2021),
   available at https://www.mncourts.gov/mncourtsgov/media/High-
   Profile-Cases/A21-0243%202021%20Redistricting/A21-
   0243_Order-Briefing-Scheduling_9-13-2021.pdf ............................................... 8

Wattson v. Simon,
  Nos. A21-0243 (Minn. Spec. Redistricting Panel Sept. 13, 2021),
  available at https://www.mncourts.gov/mncourtsgov/media/High-
  Profile-Cases/A21-0243%202021%20Redistricting/A21-
  0243_Order-Briefing-Scheduling_9-13-2021.pdf ...........................................8, 9



                                                         2
         Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 16 of 76




Statutes
42 Pa. C.S. § 761(a)(1)...............................................................................................2

Act of Mar. 27, 2020 (P.L. 41, No. 12), 2020 Pa. Legis. Serv. Act
  2020-12 (S.B. 422) (West)....................................................................................5

Act of Oct. 31, 2019 (P.L. 552, No. 77), 2019 Pa. Legis. Serv. Act.
  2019-77 (S.B. 421) (West)....................................................................................4

Minn. Stat. Ann. § 204B.14(1a)................................................................................. 9

Other Authorities
Pa Congressional Redistricting PA House Republican Caucus, Pa.
   Redistricting, http://www.paredistricting.com (last visited on Sept.
   16, 2021) ..............................................................................................................6




                                                                                  M
                                                                                 O
                                                                                C
                                                                             T.
                                                                         KE
United States Census Bureau, 2020 Redistricting Data Datasets (Aug.
  12, 2021), https://www.census.gov/programs-surveys/decennial-         C
                                                                       O
                                                                     YD


  census/data/datasets/rdo.html (last visited on Sept. 16, 2021) ............................ 6
                                                                 AC
                                                                 R
                                                             C
                                                           O




Governon Tom Wolf, Give Feedback on Pennsylvania Redistricting,
                                                        EM




  https://www.governor.pa.gov/redistricting-feedback/ (last visited
                                                      D
                                                    M




  on Sept. 16, 2021) .................................................................................................6
                                                  O
                                               FR
                                            D




Commonwealth of Pennsylvania Governor’s Office, Executive Order
                                          VE
                                        IE




  (Sept. 13, 2021), https://www.governor.pa.gov/wp-
                                     R
                                   ET




  content/uploads/2021/09/20210913-EO-2021-05-Redistricting-
                                  R




  Advisory-Council.pdf (last visited on Sept. 16, 2021) ........................................ 6




                                                             3
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 17 of 76




       Respondents, Acting Secretary of the Commonwealth Veronica

Degraffenreid and Director of the Bureau of Election Services and Notaries Jessica

Mathis, submit the following Memorandum of Law in support of their Preliminary

Objections.

I.     INTRODUCTION

        The Petition for Review raises serious and weighty issues. Respondents

agree with Petitioners that the right to vote of the individual Petitioners, and of all

Pennsylvania voters, must be protected. They agree that timely congressional




                                                              M
                                                            O
                                                           C
                                                         T.
redistricting that complies with federal and state law is necessary to protect this
                                                       KE
                                                      C
                                                    O
                                                  YD

right to vote. And they agree that, if the political branches of Pennsylvania’s
                                                AC
                                               R
                                              C
                                             O




government fail to carry out that redistricting, the courts will be required to step in.
                                          EM
                                         D
                                       M




       Respondents do not agree, however, that the political branches have failed in
                                     O
                                   FR
                                 D
                               VE




their responsibilities to voters, or that Petitioners have shown that failure is
                              IE
                            R
                          ET
                         R




inevitable. At this point, all that Petitioners allege is that it is possible that the

General Assembly and the Governor will reach an impasse on congressional

redistricting legislation and will not be able to enact such legislation in time for the

2022 primary election. But the possibility of an impasse does not suffice to state a

claim, and cannot justify the Court stepping in at this point.

       Before this Court can intercede, Pennsylvania law requires more than a

chance that Petitioners’ rights may be endangered some time down the road. Under
        Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 18 of 76




bedrock principles of standing, the harm to Petitioners cannot be wholly contingent

on future events. And for Petitioners’ claims to be ripe, the facts must be

sufficiently developed to permit judicial resolution. Here, Petitioners’ claims fail

on both fronts.

        Respondents do not argue that the Court’s doors are or should be closed to

Petitioners permanently. As of today, however, Petitioners’ forecast—stormy

though it may be—is too uncertain to establish Petitioners’ standing and state a

ripe claim for relief.




                                                          M
                                                         O
                                                        C
                                                       T.
II.     STATEMENT OF JURISDICTION
                                                     KE
                                                    C
                                                    O
                                                  YD

         The Petition for Review is addressed to this Court’s original jurisdiction,
                                               AC
                                              R
                                             C
                                            O




pursuant to 42 Pa. C.S. § 761(a)(1).
                                        EM
                                        D
                                     M




 III.    STATEMENT OF THE CASE
                                    O
                                  FR
                                D
                              VE




          Petitioners—16 individuals living in 11 different Pennsylvania
                             IE
                            R
                          ET
                         R




congressional districts—filed their Petition for Review addressed to the Court’s

original jurisdiction on April 26, 2021. Petitioners allege that their voting rights

will be potentially burdened by a chain of events that was set in motion by the

completion of the 2020 decennial census. According to Petitioners, once the United

States Secretary of Commerce delivered the apportionment data obtained by the

2020 Census to the President, use of the existing congressional districts of each

state—including those of Pennsylvania—became unconstitutional. See, e.g., Pet. ¶¶



                                            -2-
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 19 of 76




2-4. Petitioners allege that unless new congressional districts are put in place in

time for 2022’s primary and general elections, their rights will be violated. Id. ¶ 7.

        Petitioners acknowledge that under Pennsylvania law, congressional

district maps are the responsibility of the political branches—the legislature and

the executive—in the first instance. “In Pennsylvania, congressional district plans

must be enacted through legislation, which requires the consent of both legislative

chambers and the Governor (unless both legislative chambers override the

Governor’s veto by a two-third vote).” Pet. ¶ 6 (citing League of Women Voters v.




                                                           M
                                                         O
                                                        C
                                                       T.
Commonwealth, 178 A.3d 737, 742 (Pa. 2018)).
                                                     KE
                                                    C
                                                    O
                                                  YD

        Petitioners hypothesize, however, that redistricting is unlikely to proceed
                                               AC
                                              R
                                             C
                                            O




along ordinary legislative lines in 2021 and 2022, because Pennsylvania’s
                                        EM
                                        D
                                     M




“political branches are highly likely to be at an impasse this cycle and to fail to
                                    O
                                  FR
                                D
                              VE




enact a new congressional district plan.” Id. ¶ 33. The support Petitioners offer for
                            IE
                           R
                         ET
                        R




this proposition is that Pennsylvania’s legislative and executive branches are

controlled by different parties; that “[i]n just the last two years, Governor Wolf and

the Republican-controlled General Assembly have repeatedly conflicted over a

broad range of policies”; and that Census delays have compressed the legislature’s

time to enact a new congressional district plan. Id. Without a new congressional

district plan, Petitioners allege, they “will be forced to cast unequal

votes[,]…[b]ecause the current congressional plan is unconstitutionally



                                            -3-
         Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 20 of 76




malapportioned[.]” Pet. ¶ 4. Additionally, Petitioners allege that if they are forced

to participate in upcoming elections that use the old map, their “right to associate

with other voters in support of their preferred candidates will be infringed.” Id. As

a result, Petitioners ask that the Court “assume jurisdiction now and establish a

schedule that will enable the Court to adopt its own plan in the near-certain event

that the political branches fail to timely do so.” Id. ¶ 9.

          The potential harms that Petitioners allege are uncertain and far in the future.

First, Petitioners do not allege that the political branches have announced an




                                                                   M
                                                                   O
                                                                  C
                                                               T.
impasse. Second, they acknowledge that the legislature has not missed any
                                                              KE
                                                             C
                                                           O
                                                         YD

deadlines. See Pet. ¶ 30 (“Pennsylvania law does not set a deadline by which
                                                        AC
                                                    R
                                                   C
                                                  O




congressional redistricting plans must be in place prior to the first congressional
                                              EM
                                              D
                                           M




election following release of the Census.”).
                                          O
                                        FR
                                     D
                                   VE




          Finally, Petitioners do not contend that it will be impossible for the
                                  IE
                                R
                              ET
                             R




legislative and executive branches to agree on a congressional district map, and

could not reasonably contend this. While the Governor has exercised his veto

power at times in the past two years, legislation has also passed during that time

with bipartisan support and without a veto—including important voting-related

legislation. For example, less than two years ago, the General Assembly enacted

and the Governor signed Act 77 of 2019,1 which allowed all eligible voters to vote


1
    Act of Oct. 31, 2019 (P.L. 552, No. 77), 2019 Pa. Legis. Serv. Act. 2019-77 (S.B. 421) (West).

                                                  -4-
         Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 21 of 76




by mail-in ballot and made many other important changes to Pennsylvania’s

Election Code. Five months later, the General Assembly enacted and the Governor

signed Act 12 of 2020, 2 which made further changes to the Election Code and

included sweeping temporary measures to respond to the COVID-19 pandemic.

Both of these important voting laws received bipartisan support in the General

Assembly.

           Petitioners also concede, as they must, that “there is still time for the

General Assembly and the Governor to enact a new congressional plan[.]” Id. ¶ 9.




                                                                   M
                                                                   O
                                                                  C
                                                               T.
The first day for candidates to circulate and file nomination petitions for the 2022
                                                              KE
                                                             C
                                                           O
                                                         YD

primary election is February 15, 2022. In order to ensure efficient election
                                                        AC
                                                    R
                                                   C
                                                  O




administration, allow for timely notice to candidates, and permit proper
                                              EM
                                              D
                                           M




implementation of the new congressional districts, Respondents believe that the
                                          O
                                       FR
                                     D
                                   VE




Department of State must receive a final and legally binding congressional district
                                  IE
                                R
                              ET
                             R




map no later than January 24, 2022. See Respondents’ Preliminary Objections ¶¶

13-17. In order to account for potential litigation, Respondents believe that a new

map must be signed into law by the end of December 2021. Id. ¶ 17. A map signed

into law in late December would not be unprecedented. The congressional district

map that followed the 2010 Census, for example, was signed into law on

December 22, 2011. League of Women Voters, 178 A.3d at 743-44. If the political


2
    Act of Mar. 27, 2020 (P.L. 41, No. 12), 2020 Pa. Legis. Serv. Act 2020-12 (S.B. 422) (West).

                                                  -5-
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 22 of 76




branches act promptly, they could easily meet a similar deadline. 3

IV.    STATEMENT OF THE QUESTIONS INVOLVED

       1.     Where Petitioners allege harm that is speculative and uncertain,

should the Court sustain Respondents’ Preliminary Objection for lack of standing

and ripeness?

       Suggested Answer: Yes.

V.     ARGUMENT

       To establish standing to seek relief from this Court, a party must




                                                                M
                                                                O
                                                               C
                                                            T.
demonstrate that it is “aggrieved,” that is, that it has “a substantial, direct, and
                                                           KE
                                                          C
                                                        O
                                                      YD

immediate interest in the matter.” Markham v. Wolf, 136 A.3d 134, 140 (Pa. 2016);
                                                     AC
                                                 R
                                                C
                                               O




accord Pittsburgh Palisades Park, LLC v. Commonwealth, 888 A.2d 655, 660 (Pa.
                                           EM
                                           D
                                        M




2005). “[A]n interest is ‘immediate’ if the causal connection is not remote or
                                       O
                                     FR
                                  D
                                VE




speculative.” Pittsburgh Palisades Park, 888 A.2d at 660 (citation omitted).
                               IE
                             R
                           ET
                          R




       Like standing, the principle of ripeness “mandates the presence of an actual

controversy.” Bayada Nurses, Inc. v. Department of Labor and Industry, 8 A.3d


        3
           There is no indication that the political branches are delaying; they appear to be
actively moving the redistricting process forward. The U.S. Census Bureau released redistricting
data in legacy format on August 12, 2021. See https://www.census.gov/programs-
surveys/decennial-census/data/datasets/rdo.html. Using that data, the House State Government
Committee is soliciting public input on new maps, including by holding a series of hearings
across the Commonwealth. See http://www.paredistricting.com. Governor Wolf is also soliciting
the public’s feedback, and has established a Redistricting Advisory Council to assist him in
evaluating proposed maps. See https://www.governor.pa.gov/redistricting-feedback/;
https://www.governor.pa.gov/wp-content/uploads/2021/09/20210913-EO-2021-05-Redistricting-
Advisory-Council.pdf.

                                               -6-
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 23 of 76




866, 874 (Pa. 2010). Unlike standing, however, ripeness “also reflects the separate

concern that relevant facts are not sufficiently developed to permit judicial

resolution of the dispute.” Robinson Twp., Washington Cty. v. Com., 83 A.3d 901,

917 (Pa. 2013).

      Here, all of Petitioners’ claims turn on one key fact—whether or not there

will be a new congressional district plan in place in time for the 2022 election.

Petitioners allege only that it is “highly likely” that Pennsylvania’s political

branches will “be at an impasse this cycle” and “fail to enact a new congressional




                                                           M
                                                         O
                                                        C
                                                       T.
district plan.” Pet. ¶ 33. That fact, as Petitioners acknowledge, is still unresolved:
                                                     KE
                                                    C
                                                    O
                                                  YD

“there is still time for the General Assembly and the Governor to enact a new
                                               AC
                                              R
                                             C
                                            O




congressional plan[.]” Pet. ¶ 9. Because no one knows what will happen in the
                                        EM
                                        D
                                     M




negotiations between the legislature and the Governor—let alone whether the
                                    O
                                  FR
                                D
                              VE




negotiations will break down, a necessary prerequisite to Petitioners’ claims—the
                            IE
                           R
                         ET
                        R




facts underlying the Petition for Review are quintessentially “not sufficiently

developed to permit judicial resolution of the dispute,” and therefore are not ripe.

Robinson, 83 A.3d at 917; see also Philips Bros. Elec. Contractors, Inc. v.

Pennsylvania Turnpike Comm’n, 960 A.2d 941, 945 (Pa. Commw. Ct. 2008)

(factors considered in ripeness inquiry include “whether the claim involves

uncertain and contingent events that may not occur as anticipated or at all”)

(citations omitted). Similarly, “any possible harm to Petitioners is wholly



                                            -7-
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 24 of 76




contingent on future events.” Pittsburgh Palisades Park, 888 A.2d at 660. “[A]s

Petitioners do not offer that [negotiation over a new congressional district plan] has

harmed them or will harm them in any way that is not remote or speculative, they

fail to demonstrate that they have an immediate interest,” as is required for

standing. Id. (citation omitted).

      Petitioners’ Memorandum in Opposition to Respondents’ Preliminary

Objections (“Mem. Opp.”) sets forth no persuasive reason for the Court to

conclude that Petitioners have standing or that their claims are ripe. First,




                                                              M
                                                              O
                                                             C
                                                          T.
Petitioners argue, courts in Minnesota and Wisconsin have exercised jurisdiction
                                                         KE
                                                        C
                                                      O
                                                    YD

under similar circumstances. See Mem. Opp. at 11-13, 15-16, 18-20. But the cases
                                                   AC
                                               R
                                              C
                                             O




Petitioners rely upon are not at all similar to this one. The Minnesota state court
                                         EM
                                         D
                                     M




cases of Wattson v. Simon, No. A21-0243, and Sachs v. Simon, No. A21-0546,
                                     O
                                    FR
                                D
                              VE




involve the work of a hybrid entity with no counterpart in Pennsylvania: a “special
                            IE
                           R
                         ET
                        R




redistricting panel,” made up of judges, that conducts public outreach and

factfinding in order to prepare itself to address any redistricting litigation that may

arise. See Wattson v. Simon, Nos. A21-0243 and A21-0546 (Minn. Spec.

Redistricting Panel Sept. 13, 2021), available at

https://www.mncourts.gov/mncourtsgov/media/High-Profile-Cases/A21-

0243%202021%20Redistricting/A21-0243_Order-Briefing-Scheduling_9-13-

2021.pdf (stating that “the panel wishes to gather information about Minnesota



                                             -8-
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 25 of 76




communities from Minnesota citizens” and scheduling ten public hearings across

the state). Given the panel’s expansive and time-consuming role, and the fact that

Minnesota, unlike Pennsylvania, has statutory deadlines for the establishment of

new maps, see Minn. Stat. Ann. § 204B.14(1a), it is not surprising that the

Minnesota Supreme Court concluded that the panel should begin its work in the

summer of 2021. See Wattson v. Simon, Nos. A21-0243 and A21-0546 (Minn. June

30, 2021) at 2. That decision, under those unique circumstances, has no bearing on

the standing and ripeness questions here.




                                                           M
                                                          O
                                                         C
                                                       T.
      Arrington v. Elections Board, 173 F. Supp. 2d 856 (E.D. Wisc. 2001), is
                                                     KE
                                                    C
                                                    O
                                                  YD

similarly unhelpful. In that case, two groups of legislators—the State Senate
                                               AC
                                              R
                                             C
                                            O




Democratic Caucus, who intervened as plaintiffs, and the State Senate’s Speaker
                                        EM
                                        D
                                     M




and Minority Leader, who intervened as defendants—filed briefs agreeing that the
                                    O
                                  FR
                                D
                              VE




case was justiciable, and the Senate leaders agreed with the plaintiffs that impasse
                             IE
                           R
                         ET
                        R




was a “very real possibility.” Id. at 858-59, 864. The court relied on these

admissions to conclude that it had jurisdiction. Id. at 864. In this case, the political

branches have not taken such a position. Moreover, Arrington interprets federal

law as applied to the Wisconsin legislative process, and thus has no persuasive

force here.

      Petitioners’ second argument is that the Court must act now because the

congressional districts are malapportioned. Mem. Opp. at 8-9. But the fact that the



                                            -9-
       Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 26 of 76




current districts may not have equal numbers of voters causes no constitutional

injury. “Malapportionment's harm is felt by individuals in overpopulated districts

who actually suffer a diminution in the efficacy of their votes and their

proportional voice in the legislature.” Garcia v. 2011 Legislative Reapportionment

Commission, 559 Fed. Appx. 128, 133 (3d Cir. 2014). Accordingly,

malapportionment cannot cause injury until an election occurs using the

malapportioned districts—and, as discussed above, at this point such an injury is

wholly speculative.




                                                          M
                                                        O
                                                        C
                                                      T.
       There may come a time when Petitioners’ claim ripens and they have
                                                    KE
                                                   C
                                                    O
                                                  YD

standing, but as the allegations in their Petition show, that time has not arrived and
                                              AC
                                             R
                                           C
                                           O




may never arrive. Accordingly, this case cannot proceed.
                                       EM
                                       D
                                    M




 VI.    CONCLUSION
                                   O
                                 FR
                               D
                             VE




       For the foregoing reasons, Respondents respectfully request that this Court
                            IE
                           R
                         ET
                        R




sustain their Preliminary Objection for lack of standing and ripeness and enter an

order dismissing the Petition for Review without prejudice.

                             Respectfully submitted,

                                   HANGLEY ARONCHICK SEGAL
                                   PUDLIN & SCHILLER

 Dated: September 16, 2021         By: /s/ Michele D. Hangley
                                          Michele D. Hangley (ID No. 82779)
                                          Robert A. Wiygul (I.D. No. 310760)
                                          John B. Hill (I.D. No. 328340)



                                         - 10 -
Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 27 of 76




                          One Logan Square, 27th Floor
                          Philadelphia, PA 19103
                          Tel: (215) 568-6200
                          Fax: (215) 568-0300

                          OFFICE OF ATTORNEY GENERAL

                          Karen M. Romano (I.D. No. 88848)
                          Keli M. Neary (I.D. No. 205178)
                          Caleb Enerson (I.D. No. 313832)
                          15th Floor, Strawberry Square
                          Harrisburg, PA 17120
                          (717) 787-2717

                          PENNSYLVANIA GOVERNOR’S OFFICE




                                               M
                                              O
                          OF GENERAL COUNSEL



                                              C
                                            T.
                                          KE
                                         C
                          Kenneth L. Joel (I.D. No. 72370)
                                          O
                                        YD

                          333 Market Street, 17th Floor
                                    AC




                          Harrisburg, PA 17101
                                   R
                                  C
                                  O




                          (717) 787-9348
                              EM
                              D
                           M




                          PENNSYLVANIA DEPARTMENT OF
                          O
                        FR




                          STATE
                      D
                    VE
                   IE
                  R




                          Kathleen M. Kotula (I.D. No. 318947)
                ET
               R




                          Kimberly A. Adams (I.D. No. 205848)
                          306 North Office Bldg., 401 North Street
                          Harrisburg, PA 17120-0500
                          (717) 783-1657

                          TUCKER LAW GROUP, LLC

                          Joe H. Tucker, Jr. (I.D. No. 56617)
                          Dimitrios Mavroudis (I.D. No. 93773)
                          Jessica A. Rickabaugh (I.D. No. 200189)
                          1801 Market Street, Suite 2500
                          Philadelphia, PA 19103
                          (215) 875-0609
                          Counsel for Respondents

                               - 11 -
    Case 1:22-cv-00208-JPW Document 49-7 7/1/2021
                                 Received  Filed 5:38:30
                                                  02/27/22   Page 28 ofCourt
                                                         PM Commonwealth 76 of Pennsylvania

                                             Filed 7/1/2021 5:38:00 PM Commonwealth Court of Pennsylvania
                                                                                             132 MD 2021

                                             Petitioners: You are hereby notified to file
                                             a written response to the enclosed
                                             Preliminary Objections within thirty (30)
                                             days from service hereof, or a judgment
                                             may be entered against you.

                                             /s/ Michele D. Hangley
                                             Michele D. Hangley
                                             Attorney for Respondents
HANGLEY ARONCHICK SEGAL                      PENNSYLVANIA GOVERNOR’S
PUDLIN & SCHILLER                            OFFICE OF GENERAL COUNSEL
Michele D. Hangley (I.D. No. 82779)          Kenneth L. Joel (I.D. No. 72370)
Robert A. Wiygul (I.D. No. 310760)           333 Market St., 17th Floor
John B. Hill (I.D. No. 328340)               Harrisburg, PA 17101
One Logan Square, 27th Floor                 (717) 787-9348
Philadelphia, PA 19103-6933




                                                             M
                                                           O
(215) 568-6200



                                                          C
                                             TUCKER LAW GROUP


                                                       T.
                                                     KE
                                             Joe H. Tucker, Jr. (I.D. No. 56617)
OFFICE OF ATTORNEY GENERAL                          C
                                                  O
                                             Dimitrios Mavroudis (I.D. No. 93773)
                                                YD

Karen M. Romano (I.D. No. 88848)
                                           AC



                                             Jessica Rickabaugh (I.D. No. 200189)
Keli M. Neary (I.D. No. 205178)
                                          R




                                             1801 Market Street, Suite 2500
                                         C
                                         O




Caleb Enerson (I.D. No. 313832)
                                     EM




                                             Philadelphia, PA 19103
15th Floor, Strawberry Square
                                     D




                                             (215) 875-0609
                                  M




Harrisburg, PA 17120
                                 O
                               FR




(717) 787-2717
                             D
                           VE
                         IE
                        R




PENNSYLVANIA GOVERNOR’S
                      ET
                     R




OFFICE OF GENERAL COUNSEL
Kenneth L. Joel (I.D. No. 72370)
333 Market St., 17th Floor
Harrisburg, PA 17101                         Counsel for Respondents
(717) 787-9348
Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 29 of 76




                                             M
                                             O
                                            C
                                            T.
                                          KE
                                         C
                 EXHIBIT B
                                        O
                                      YD
                                    AC
                                   R
                                  C
                                  O
                              EM
                              D
                          M
                          O
                        FR
                      D
                    VE
                   IE
                  R
                ET
               R
    Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 30 of 76




       IN THE COMMONWEALTH COURT OF PENNSYLVANIA

CAROL ANN CARTER, et al.,
            Petitioners,

            v.

VERONICA DEGRAFFENREID, in her official capacity             No. 132 MD 2021
as Acting Secretary of the Commonwealth of Pennsylvania,
et al.,
                   Respondents.


 RESPONDENTS’ PRELIMINARY OBJECTIONS TO PETITIONERS’




                                                   M
                 PETITION FOR REVIEW



                                                  O
                                                 C
                                                 T.
                                               KE
                                              C
                                             O
                                           YD
                                         AC
                                        R
                                       C
                                       O
                                   EM
                                   D
                                M
                               O
                             FR
                           D
                         VE
                        IE
                       R
                     ET
                    R
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 31 of 76




      Respondent Veronica Degraffenreid, in her official capacity as Acting

Secretary of the Commonwealth, and Respondent Jessica Mathis, in her official

capacity as Director of the Bureau of Election Services and Notaries of the

Pennsylvania Department of State (collectively, “Respondents”), hereby present

Preliminary Objections to the Petition for Review (“Pet.”), a copy of which is

attached as Exhibit A.

I.    PRELIMINARY STATEMENT

      The Petition for Review raises serious and weighty issues. Respondents




                                                            M
                                                           O
                                                          C
                                                        T.
                                                      KE
agree with Petitioners that the right to vote of the individual Petitioners, and of all
                                                     C
                                                   O
                                                 YD


Pennsylvania voters, must be protected. They agree that timely congressional
                                               AC
                                              R
                                             C
                                             O




redistricting that complies with federal and state law is necessary to protect this
                                         EM
                                         D
                                      M
                                     O




right to vote. And they agree that, if the political branches of Pennsylvania’s
                                   FR
                                 D
                               VE




government fail to carry out that redistricting, the courts will be required to step in.
                             IE
                            R
                          ET
                         R




      Respondents do not agree, however, that the political branches have failed in

their responsibilities to voters, or that Petitioners have shown that they will do so.

At this point, all that Petitioners can allege is that it is possible that the General

Assembly and the Governor will reach an impasse on congressional redistricting

legislation and will not be able to enact such legislation in time for the 2022

primary election. But the possibility of an impasse does not suffice to state a claim,

and cannot justify the Court stepping in at this point.
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 32 of 76




       Before this Court can intercede, Pennsylvania law requires more than a

chance that Petitioners’ rights may be endangered some time down the road. Under

bedrock principles of standing, the harm to Petitioners cannot be wholly contingent

on future events. And for Petitioners’ claims to be ripe, the facts must be

sufficiently developed to permit judicial resolution. Here, Petitioners’ claims fail

on both fronts.

       Respondents do not argue that the Court’s doors are or should be closed to

Petitioners permanently. As of today, however, Petitioners’ forecast—stormy




                                                          M
                                                         O
                                                        C
                                                        T.
though it may be—is too uncertain to establish Petitioners’ standing and state a
                                                      KE
                                                     C
                                                    O
                                                  YD

ripe claim for relief.
                                                AC
                                               R
                                              C
                                              O




II.    PROCEDURAL HISTORY AND FACTUAL BACKGROUND
                                          EM
                                          D
                                      M




       1.     The Acting Secretary of the Commonwealth is tasked with the
                                      O
                                     FR
                                 D
                               VE




important duty of leading the Department of State’s work to protect the integrity
                             IE
                            R
                          ET




and security of the electoral process in Pennsylvania. In this role, she coordinates
                         R




with a wide range of stakeholders—including government officials from the local

to the federal level, the public, public interest groups, and election technology

experts—to ensure that Pennsylvania’s elections are free, fair, secure, and

accessible to all eligible voters.

       2.     The Director of the Bureau of Election Services and Notaries of the

Pennsylvania Department of State supervises the Commonwealth’s Election



                                          -2-
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 33 of 76




Services and Voter Registration divisions. The Bureau is responsible for planning,

developing and coordinating the statewide implementation of the Election Code,

voter registration process, and notaries public law.

      3.     Petitioners—16 individuals living in 11 different Pennsylvania

congressional districts—filed their Petition for Review addressed to the Court’s

original jurisdiction on April 26, 2021.

      4.     Petitioners allege that their voting rights will be potentially burdened

by a chain of events that was set in motion by the completion of the 2020 decennial




                                                          M
                                                         O
                                                       C
                                                      T.
census. According to Petitioners, once the United States Secretary of Commerce
                                                    KE
                                                   C
                                                   O
                                                 YD

delivered the apportionment data obtained by the 2020 Census to the President, use
                                              AC
                                             R
                                            C
                                           O




of the existing congressional districts of each state—including those of
                                       EM
                                       D
                                    M




Pennsylvania—became unconstitutional. See, e.g., Pet. ¶¶ 2-4.
                                   O
                                 FR
                               D
                             VE




      5.     Petitioners acknowledge, however, that the Secretary of Commerce
                            IE
                            R
                          ET
                        R




will not “deliver to Pennsylvania its redistricting data file in a legacy format, which

the Commonwealth may use to tabulate the new population of each political

subdivision,” until August 2021. Id. ¶ 23. Further, the Secretary of Commerce will

not “deliver to Pennsylvania that same detailed population data showing the new

population of each political subdivision in a tabulated format” until approximately

September 30, 2021. Id.




                                           -3-
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 34 of 76




      6.     The earliest deadline that Petitioners allege will be affected by the

newly drawn districts, namely, the date on which candidates may begin circulating

“nomination papers for candidates seeking to appear on the ballot for the 2022

partisan primary election,” is not until February 15, 2022. Petitioners allege that

the deadline to file those petitions is a “few weeks later.” Pet. ¶ 31.

      7.     Petitioners also acknowledge that under Pennsylvania law,

congressional district maps are the responsibility of the political branches—the

legislature and the executive—in the first instance. “In Pennsylvania, congressional




                                                           M
                                                          O
                                                        C
                                                       T.
district plans must be enacted through legislation, which requires the consent of
                                                     KE
                                                    C
                                                  O
                                                YD

both legislative chambers and the Governor (unless both legislative chambers
                                              AC
                                             R
                                            C
                                            O




override the Governor’s veto by a two-third vote).” Pet. ¶ 6 (citing League of
                                        EM
                                        D
                                     M




Women Voters v. Commonwealth, 178 A.3d 737, 742 (Pa. 2018)).
                                    O
                                  FR
                                D
                              VE




      8.     Petitioners hypothesize, however, that redistricting is unlikely to
                            IE
                           R
                         ET
                        R




proceed along ordinary legislative lines in 2021 and 2022, because Pennsylvania’s

“political branches are highly likely to be at an impasse this cycle and to fail to

enact a new congressional district plan.” Id. ¶ 33. The support Petitioners offer for

this proposition is that Pennsylvania’s legislative and executive branches are

controlled by different parties; that “[i]n just the last two years, Governor Wolf and

the Republican-controlled General Assembly have repeatedly conflicted over a




                                          -4-
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 35 of 76




broad range of policies”; and that Census delays have compressed the legislature’s

time to enact a new congressional district plan. Id.

      9.     Petitioners do not, however, contend that it will be impossible for the

legislative and executive branches to agree on a congressional district map.

      10.    While the Governor has exercised his veto power at times in the past

two years, legislation has also passed during that time with bipartisan support and

without a veto—including important voting-related legislation. For example, less

than two years ago, the General Assembly enacted and the Governor signed Act 77




                                                          M
                                                          O
                                                          C
                                                       T.
of 2019,1 which allowed all eligible voters to vote by mail-in ballot and made
                                                     KE
                                                    C
                                                  O
                                                YD

many other important changes to Pennsylvania’s Election Code. Just over a year
                                               AC
                                            R
                                           C
                                           O




ago, the General Assembly enacted and the Governor signed Act 12 of 2020,2
                                       EM
                                       D
                                    M




which made further changes to the Election Code and included sweeping
                                   O
                                 FR
                               D
                             VE




temporary measures to respond to the COVID-19 pandemic. Both of these
                            IE
                           R
                         ET
                       R




important voting laws received bipartisan support in the General Assembly.

      11.    Petitioners also concede, as they must, that “there is still time for the

General Assembly and the Governor to enact a new congressional plan[.]” Id. ¶ 9.




1
       Act of Oct. 31, 2019 (P.L. 552, No. 77), 2019 Pa. Legis. Serv. Act. 2019-77
(S.B. 421) (West).
2
       Act of Mar. 27, 2020 (P.L. 41, No. 12), 2020 Pa. Legis. Serv. Act 2020-12
(S.B. 422) (West).

                                         -5-
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 36 of 76




      12.      In March 2021, the U.S. Census Bureau reconfirmed that it expects to

provide a legacy format summary redistricting file to each state by mid-to-late

August 2021; that states could tabulate this data if they had the capacity to do so,

or use outside vendors; and that the Census Bureau would provide tabulated data in

a user-friendly system by September 30, 2021. 3

      13.      The first day for candidates to circulate and file nomination petitions

for the 2022 primary election is February 15, 2022. By that date, candidates and

voters must know the exact boundary lines for congressional districts, so that they




                                                            M
                                                            O
                                                           C
                                                        T.
can determine which voters are eligible to sign petitions for a particular district.
                                                       KE
                                                      C
                                                    O
                                                  YD

      14.      In order to facilitate the signature gathering process, county boards of
                                                 AC
                                              R
                                             C
                                             O




elections must assign voters to their correct congressional districts in the Statewide
                                         EM
                                         D
                                      M




Uniform Registry of Electors (“SURE”). This task is time-intensive and requires a
                                     O
                                  FR
                                 D
                               VE




great deal of accuracy; historically, it has taken county boards of elections at least
                             IE
                            R
                          ET
                         R




three weeks.

      15.      Accordingly, in order to help the counties reduce errors, allow for

timely notice to candidates, and permit proper implementation of the new

congressional districts, Respondents believe that the Department of State must




3
      https://www.census.gov/newsroom/press-releases/2021/statement-legacy-
format-redistricting.html

                                          -6-
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 37 of 76




receive a final and legally binding congressional district map no later than January

24, 2022.

      16.     Based on historical experience, Respondents believe that it is possible,

if not likely, that any newly enacted congressional district map will be challenged

in court. Accordingly, any timeline must factor in sufficient time for litigation

before the Department receives the final map.

      17.     In the past, the Pennsylvania courts have provided expedited review

of time sensitive election-related matters. Upon information and belief, if a new




                                                          M
                                                        O
                                                       C
                                                      T.
congressional district map is signed into law by the end of December 2021, and if
                                                    KE
                                                   C
                                                  O
                                                YD

the courts provide expedited review of any challenges to that map, the map is
                                              AC
                                             R
                                            C
                                            O




likely to be final and binding by the January 24, 2022 date discussed above. See
                                        EM
                                        D
                                    M




supra ¶ 15.
                                    O
                                 FR
                                D
                              VE




      18.     A map signed into law in late December would not be unprecedented.
                            IE
                           R
                         ET
                        R




The congressional district map that followed the 2010 Census, for example, was

not signed into law until December 22, 2011. League of Women Voters, 178 A.3d

at 743-44.

      19.     Upon information and belief, the General Assembly will be able to

commence the map-drawing process as soon as the tabulated data is available from

a vendor or the Census Bureau. In drawing its proposed map, it will have the




                                         -7-
         Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 38 of 76




benefit of the guidelines the Pennsylvania Supreme Court set forth in League of

Women Voters.4

         20.   Upon information and belief, the General Assembly should have

sufficient time to prepare proposed maps, seek public feedback on them, and

negotiate a resolution that garners bipartisan support, should its leaders choose to

do so.

         21.   For example, if the General Assembly acts promptly after receipt of

the legacy format files, it could publish tentative proposed maps by late September




                                                            M
                                                            O
                                                           C
                                                        T.
2021, move a bill through the legislative process in October and November 2021,
                                                       KE
                                                      C
                                                    O
                                                  YD

and present a map to the Governor’s office by the middle of December 2021.
                                                 AC
                                              R
                                             C
                                             O




         22.   Without a new congressional district plan, Petitioners allege, they
                                         EM
                                         D
                                     M




“will be forced to cast unequal votes[,]…[b]ecause the current congressional plan
                                     O
                                  FR
                                 D
                               VE




is unconstitutionally malapportioned[.]” Pet. ¶ 4. Additionally, Petitioners allege
                             IE
                            R
                          ET
                         R




that if they are forced to participate in upcoming elections that use the old map,

4
       As the Supreme Court explained, the constitutionality of a redistricting plan
is assessed against the following “neutral benchmarks”: “whether the congressional
districts created under a redistricting plan are: composed of compact and
contiguous territory; as nearly equal in population as practicable; and … do not
divide any county, city, incorporated town, borough, township or ward, except
where necessary to ensure equality of population.” League of Women Voters, 178
A.3d at 816-17. “When … it is demonstrated that, in the creation of congressional
districts, these neutral criteria have been subordinated, in whole or in part, to
extraneous considerations such as gerrymandering for unfair partisan political
advantage, a congressional redistricting plan violates Article I, Section 5 of the
Pennsylvania Constitution.” Id. at 817.

                                          -8-
       Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 39 of 76




their “right to associate with other voters in support of their preferred candidates

will be infringed.” Id.

       23.   As a result, Petitioners ask that the Court “assume jurisdiction now

and establish a schedule that will enable the Court to adopt its own plan in the

near-certain event that the political branches fail to timely do so.” Id. ¶ 9.

       24.   In the event their predictions of intractability come true and the Court

does not intervene, Petitioners allege they will suffer violations of their rights

under the Pennsylvania and United States Constitutions, as well as violations of




                                                            M
                                                           O
                                                         C
                                                        T.
federal law. See id. ¶¶ 34-53.
                                                      KE
                                                     C
                                                   O
                                                 YD

III.   PRELIMINARY OBJECTIONS
                                               AC
                                              R
                                            C




       A.    Petitioners Lack Standing and Their Claims Are Not Ripe (Pa. R.
                                            O
                                         EM




             Civ. P. 1028(a)(4); Pa. R. Civ. P. 1028(a)(5))
                                        D
                                      M
                                    O
                                   FR




       25.   Respondents incorporate by reference the preceding paragraphs of
                                D
                              VE
                              IE




these Preliminary Objections.
                            R
                          ET
                          R




       26.   To establish standing to seek relief from this Court, a party must

demonstrate that it is “aggrieved,” that is, that it has “a substantial, direct, and

immediate interest in the matter.” Markham v. Wolf, 136 A.3d 134, 140 (Pa. 2016);

accord Pittsburgh Palisades Park, LLC v. Commonwealth, 888 A.2d 655, 660 (Pa.

2005).

       27.    “[A]n interest is ‘immediate’ if the causal connection is not remote or

speculative.” Pittsburgh Palisades Park, 888 A.2d at 660. (citation omitted).

                                          -9-
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 40 of 76




       28.    Like standing, the principle of ripeness “mandates the presence of an

actual controversy.” Bayada Nurses, Inc. v. Department of Labor and Industry, 8

A.3d 866, 874 (Pa. 2010). Unlike standing, however, ripeness “also reflects the

separate concern that relevant facts are not sufficiently developed to permit judicial

resolution of the dispute.” Robinson Twp., Washington Cty. v. Com., 83 A.3d 901,

917 (Pa. 2013).

       29.    Here, all of Petitioners’ claims turn on one key fact – whether or not

there will be a new congressional district plan in time for the 2022 election.




                                                           M
                                                          O
                                                         C
                                                        T.
Petitioners allege only that it is “highly likely” that Pennsylvania’s political
                                                      KE
                                                     C
                                                     O
                                                   YD

branches will “be at an impasse this cycle” and “fail to enact a new congressional
                                                AC
                                               R
                                              C
                                              O




district plan.” Pet.¶ 33.
                                          EM
                                          D
                                      M




       30.    That fact, as Petitioners acknowledge, is still unresolved: “there is still
                                      O
                                     FR
                                  D
                                VE




time for the General Assembly and the Governor to enact a new congressional
                                IE
                              R
                            ET
                            R




plan[.]” Pet. ¶ 9. Because no one knows what will happen in the negotiations

between the legislature and the Governor—let alone whether the negotiations will

break down, a necessary prerequisite to Petitioners’ claims—the facts underlying

the Petition for Review are quintessentially “not sufficiently developed to permit

judicial resolution of the dispute.” Robinson, 83 A.3d at 917.

      31.     Simply put, Petitioners do not know whether the Commonwealth’s

lawmakers will or will not reach an agreement on redrawn congressional districts.


                                          - 10 -
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 41 of 76




Petitioners can only speculate as to which outcome is more likely. Based on

Petitioners’ own allegations, their constitutional rights will be infringed, if—and

only if—Petitioners’ speculation proves correct, and the political branches become

intractably deadlocked.

      32.    “Thus, any possible harm to Petitioners is wholly contingent on future

events.” Pittsburgh Palisades Park, 888 A.2d at 660. “[A]s Petitioners do not offer

that [negotiation over a new congressional district plan] has harmed them or will

harm them in any way that is not remote or speculative, they fail to demonstrate




                                                          M
                                                         O
                                                        C
                                                      T.
that they have an immediate interest,” as is required for standing. Id. (citation
                                                    KE
                                                   C
                                                    O
                                                  YD

omitted).
                                             AC
                                            R
                                           C
                                           O




      33.    Further, Petitioners allege that the Secretary of Commerce will not
                                       EM
                                       D
                                     M




even “deliver to Pennsylvania its redistricting data file in a legacy format, which
                                   O
                                  FR
                               D
                             VE




the Commonwealth may use to tabulate the new population of each political
                             IE
                            R
                          ET
                         R




subdivision,” until August of 2021. Id. ¶ 23.

      34.    Petitioners also acknowledge that “Pennsylvania law does not set a

deadline by which congressional redistricting plans must be in place prior to the

first congressional election following release of the Census.” Pet. ¶ 30.

      35.    Thus, Petitioners’ allegations of harm are speculative and fail to

demonstrate the immediacy required to confer standing. See Pittsburgh Palisades

Park, 888 A.2d at 660.


                                         - 11 -
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 42 of 76




      36.    Accordingly, because Petitioners have not satisfied the requirements

for standing and because their claims are not ripe, Respondents respectfully request

that this Court sustain their Preliminary Objection and dismiss the Petition without

prejudice.

      WHEREFORE, Respondents respectfully request that this Court sustain

their Preliminary Objection for lack of standing and ripeness and enter an order

dismissing the Petition for Review without prejudice.

                                     Respectfully submitted,




                                                        M
                                                        O
                                                        C
                                                     T.
                                     HANGLEY ARONCHICK SEGAL
                                                   KE
                                                  C
                                     PUDLIN & SCHILLER
                                                  O
                                                YD
                                             AC




Dated: July 1, 2021                  By:    /s/ Michele D. Hangley
                                            R
                                           C
                                           O
                                       EM




                                     Michele D. Hangley (ID No. 82779)
                                       D
                                   M




                                     Robert A. Wiygul (I.D. No. 310760)
                                   O
                                FR




                                     John B. Hill (I.D. No. 328340)
                               D
                             VE




                                     One Logan Square, 27th Floor
                           IE
                          R




                                     Philadelphia, PA 19103
                        ET
                       R




                                     Tel: (215) 568-6200
                                     Fax: (215) 568-0300

                                     OFFICE OF ATTORNEY GENERAL

                                     Karen M. Romano (I.D. No. 88848)
                                     Keli M. Neary (I.D. No. 205178)
                                     Caleb Enerson (I.D. No. 313832)
                                     Strawberry Square, 15th Floor
                                     Harrisburg, PA 17120
                                     (717) 787-2717




                                       - 12 -
Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 43 of 76




                             PENNSYLVANIA GOVERNOR’S OFFICE
                             OF GENERAL COUNSEL

                             Kenneth L. Joel (I.D. No. 72370)
                             333 Market St., 17th Floor
                             Harrisburg, PA 17101
                             (717) 787-9348

                             PENNSYLVANIA DEPARTMENT OF
                             STATE

                             Kathleen M. Kotula (I.D. No. 318947)
                             Kimberly A. Adams (I.D. No. 205848)
                             306 North Office Bldg., 401 North St.
                             Harrisburg, PA 17120-0500




                                               M
                                              O
                             (717) 783-1657



                                              C
                                            T.
                                          KE
                                         C
                             TUCKER LAW GROUP
                                          O
                                        YD
                                    AC




                             Joe H. Tucker, Jr. (I.D. No. 56617)
                                   R
                                  C
                                  O




                             Dimitrios Mavroudis (I.D. No. 93773)
                              EM




                             Jessica Rickabaugh (I.D. No. 200189)
                              D
                          M




                             1801 Market Street, Suite 2500
                          O
                        FR




                             Philadelphia, PA 19103
                      D
                    VE




                             (215) 875-0609
                   IE
                  R
                ET
               R




                             Counsel for Respondents




                               - 13 -
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 44 of 76




        CERTIFICATION REGARDING PUBLIC ACCESS POLICY

      I certify that this filing complies with the provisions of the Public Access

Policy of the Unified Judicial System of Pennsylvania: Case Records of the

Appellate and Trial Courts that require filing confidential information and

documents differently than non–confidential information and documents.



Dated: July 1, 2021                            /s/ Michele D. Hangley
                                               Michele D. Hangley




                                                         M
                                                        O
                                                       C
                                                     T.
                                                   KE
                                                  C
                                                 O
                                               YD
                                             AC
                                            R
                                           C
                                           O
                                       EM
                                       D
                                    M
                                   O
                                FR
                               D
                             VE
                           IE
                          R
                        ET
                       R
Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 45 of 76




                                             M
                                             O
                                            C
                                            T.
                      EXHIBIT A
                                          KE
                                         C
                                        O
                                      YD
                                    AC
                                   R
                                  C
                                  O
                              EM
                              D
                          M
                          O
                        FR
                      D
                    VE
                   IE
                  R
                ET
               R
     Case 1:22-cv-00208-JPW Document 49-74/26/2021
                                 Received   Filed 8:17:19
                                                   02/27/22   Page 46 ofCourt
                                                          PM Commonwealth 76 of Pennsylvania

                                           Filed 4/26/2021 8:17:00 PM Commonwealth Court of Pennsylvania
                                                                                            132 MD 2021

Marc E. Elias                                 Edward D. Rogers, No. 69337
Aria C. Branch                                Marcel S. Pratt, No. 307483
Lalitha D. Madduri                            Robert J. Clark, No. 308105
Christina A. Ford                             Michael R. McDonald, No. 326873
Jyoti Jasrasaria                              Paul K. Ort, No. 326044
Perkins Coie LLP                              Ballard Spahr LLP
700 Thirteenth Street NW Suite 800            1735 Market Street, 51st Floor
Washington, D.C. 20005-3960                   Philadelphia, PA 19103
MElias@perkinscoie.com                        RogersE@ballardspahr.com
ABranch@perkinscoie.com                       PrattM@ballardspahr.com
LMadduri@perkinscoie.com                      ClarkR@ballardspahr.com
ChristinaFord@perkinscoie.com                 McDonaldM@ballardspahr.com
JJasrasaria@perkinscoie.com                   OrtP@ballardspahr.com
T: (202) 654-6200                             T: (215) 665-8500
F: (202) 654-6211                             F: (215) 864-8999




                                                            M
                                                          O
                                                         C
                                                      T.
Abha Khanna                                   Counsel for Petitioners
                                                    KE
Perkins Coie LLP                                   C
                                                 O
                                               YD

1201 Third Avenue, Suite 4900
                                            AC




Seattle, WA 98101-3099
                                           R
                                          C
                                          O




AKhanna@perkinscoie.com
                                      EM




T: (206) 359-8000
                                      D
                                   M




F: (206) 359-9000
                                  O
                                 FR
                              D
                            VE
                          IE




       IN THE COMMONWEALTH COURT OF PENNSYLVANIA
                         R
                       ET
                      R




CAROL ANN CARTER; MONICA PARRILLA;
REBECCA POYOUROW; WILLIAM TUNG; ROSEANNE
MILAZZO; BURT SIEGEL; SUSAN CASSANELLI; LEE                               No.
CASSANELLI; LYNN WACHMAN; MICHAEL                                         ______________
GUTTMAN; MAYA FONKEU; BRADY HILL; MARY
ELLEN BALCHUNIS; TOM DEWALL; STEPHANIE
MCNULTY; and JANET TEMIN,
                  Petitioners,
      v.
VERONICA DEGRAFFENREID, in her official capacity as
the Acting Secretary of the Commonwealth of Pennsylvania;
JESSICA MATHIS, in her official capacity as Director for
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 47 of 76



the Pennsylvania Bureau of Election Services and Notaries,
                   Respondents.


                    PETITION FOR REVIEW
       ADDRESSED TO THE COURT’S ORIGINAL JURISDICTION

                                  INTRODUCTION

      1.    This is an action challenging Pennsylvania’s current congressional

district map, which has been rendered unconstitutionally malapportioned by a

decade of population shifts. Petitioners ask this Court to declare Pennsylvania’s




                                                        M
                                                       O
current congressional district plan unconstitutional; enjoin Respondents from using



                                                     C
                                                     T.
                                                   KE
                                                  C
the current plan in any future elections; and implement a new congressional district
                                                 O
                                               YD
                                             AC




plan that adheres to the constitutional requirement of one-person, one-vote should
                                            R
                                           C
                                           O
                                       EM




the General Assembly and Governor fail to do so.
                                       D
                                    M
                                   O
                                  FR




      2.    On April 26, 2021, the U.S. Secretary of Commerce delivered the
                               D
                             VE
                             IE
                          R




apportionment data obtained by the 2020 Census to the President. Those data
                        ET
                       R




confirm the inevitable reality that population shifts that occurred during the last

decade have rendered Pennsylvania’s congressional plan unconstitutionally

malapportioned. See Arrington v. Elections Bd., 173 F. Supp. 2d 856, 860 (E.D. Wis.

2001) (three-judge court) (explaining that “existing apportionment schemes become

instantly unconstitutional upon the release of new decennial census data” (internal

quotation marks omitted)).

      3.    Specifically, the current configuration of Pennsylvania’s congressional

                                        -2-
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 48 of 76




districts violates (1) the Free and Equal Elections Clause of the Pennsylvania

Constitution; (2) Article I, Section 2 of the U.S. Constitution; (3) 2 U.S.C. § 2c; and

(4) the Petition Clause of the Pennsylvania Constitution. The Pennsylvania

Constitution’s Free and Equal Elections Clause guarantees its citizens the right to

“make their votes equally potent in the election; so that some shall not have more

votes than others, and that all shall have an equal share.” Patterson v. Barlow, 60 Pa.

54, 75 (1869). Article 1, Section 2 of the U.S. Constitution requires states to “achieve

population equality ‘as nearly as is practicable’” when drawing congressional




                                                           M
                                                          O
                                                         C
                                                       T.
districts. Karcher v. Daggett, 462 U.S. 725, 730 (1983) (quoting Wesberry v.
                                                     KE
                                                    C
                                                  O
                                                YD

Sanders, 376 U.S. 1, 7-8 (1964)). 2 U.S.C. § 2c provides that a state should have “a
                                              AC
                                             R
                                            C
                                            O




number of [congressional] districts equal to the number of Representatives to which
                                        EM
                                        D
                                     M




such State is so entitled.” And the Petition Clause of the Pennsylvania Constitution
                                    O
                                  FR
                                D
                              VE




secures voters’ right to associate with other voters to elect their preferred candidates,
                            IE
                           R
                         ET
                        R




“not simply as [a] restriction[] on the powers of government, as found in the Federal

Constitution, but as [an] inherent and ‘invaluable’ right[] of man.” Commonwealth

v. Tate, 432 A.2d 1382, 1388 (Pa. 1981).

      4.     Petitioners will be forced to cast unequal votes if the current

congressional map is not brought into compliance with constitutional requirements.

Because the current congressional plan is unconstitutionally malapportioned, it

cannot be used in any future election. Moreover, if a new congressional plan is not


                                          -3-
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 49 of 76




in place in a timely manner, Petitioners’ right to associate with other voters in

support of their preferred candidates will be infringed.

      5.     While “the primary responsibility and authority for drawing federal

congressional legislative districts rests squarely with the state legislature,” when “the

legislature is unable or chooses not to act, it becomes the judiciary’s role to

determine the appropriate redistricting plan.” League of Women Voters v.

Commonwealth, 178 A.3d 737, 821-22 (Pa. 2018) (League of Women Voters I).

      6.     In Pennsylvania, congressional district plans must be enacted through




                                                           M
                                                           O
                                                         C
                                                       T.
legislation, which requires the consent of both legislative chambers and the
                                                     KE
                                                    C
                                                  O
                                                YD

Governor (unless both legislative chambers override the Governor’s veto by a two-
                                              AC
                                             R
                                            C
                                            O




thirds vote). League of Women Voters I, 178 A.3d at 742; Pa. Const., Art. III, § 4;
                                        EM
                                        D
                                     M




Pa. Const., Art. IV, § 15.
                                    O
                                  FR
                                D
                              VE




      7.     There is no reasonable prospect that Pennsylvania’s political branches
                             IE
                           R
                         ET
                        R




will reach consensus to enact a lawful congressional district plan in time to be used

in the upcoming 2022 election. Currently, Republicans hold majorities (though not

veto-proof majorities) in both chambers of the General Assembly, and Governor

Wolf, who has veto power, is a Democrat. The last time Pennsylvania began a

redistricting cycle in which its political branches were politically split as they are

now, those branches failed to enact a congressional redistricting plan, forcing

Pennsylvania’s judiciary to take responsibility for enacting a new plan. See Mellow


                                          -4-
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 50 of 76




v. Mitchell, 607 A.2d 204 (Pa. 1992).

      8.     Given the long and acrimonious history of partisan gerrymandering

litigation challenging Pennsylvania’s previous congressional district map, it is clear

that Pennsylvania’s political branches are extremely unlikely to agree to a new

congressional district plan prior to the 2022 election. Just three years ago, the

Republican-controlled General Assembly and Governor Wolf failed to agree on a

new congressional plan following the Pennsylvania Supreme Court’s invalidation of

the plan enacted in 2011, forcing the Court to draw its own. See League of Women




                                                           M
                                                          O
                                                        C
                                                       T.
Voters of Pa. v. Commonwealth, 181 A.3d 1083, 1086 (Pa. 2018) (League of Women
                                                     KE
                                                    C
                                                  O
                                                YD

Voters II). Because there is no reason to believe that the General Assembly and the
                                              AC
                                             R
                                            C
                                            O




Governor will be able to reach agreement this time around, this Court should
                                        EM
                                        D
                                     M




intervene to protect the constitutional rights of Petitioners and voters across the
                                    O
                                  FR
                                D
                              VE




Commonwealth.
                            IE
                           R
                         ET
                        R




      9.     While there is still time for the General Assembly and the Governor to

enact a new congressional plan, this Court should assume jurisdiction now and

establish a schedule that will enable the Court to adopt its own plan in the near-

certain event that the political branches fail to timely do so.

                            JURISDICTION AND VENUE

      10.    This Court has original jurisdiction over this Verified Petition for

Review under 42 Pa. C.S. § 761(a)(1) because this matter is asserted against



                                          -5-
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 51 of 76




Commonwealth officials in their official capacities.

                                          PARTIES

      11.    Petitioners are citizens of the United States and are registered to vote in

Pennsylvania. Petitioners intend to advocate and vote for Democratic candidates in

the upcoming 2022 primary and general elections. Petitioners reside in the following

congressional districts.

    Petitioner’s Name               County of Residence       Congressional District
     Carol Ann Carter                     Bucks                         1
      Monica Parrilla                  Philadelphia                     2




                                                          M
                                                          O
    Rebecca Poyourow                   Philadelphia                     3


                                                          C
                                                         T.
       William Tung                    Philadelphia                     3
                                                       KE
    Roseanne Milazzo                   Montgomery     C                 4
                                                    O
                                                  YD


        Burt Siegel                    Montgomery                       4
                                                 AC
                                                R




     Susan Cassanelli                   Delaware                        5
                                              C
                                              O




      Lee Cassanelli                    Delaware                        5
                                           EM
                                          D




     Lynn Wachman                        Chester                        6
                                       M
                                      O




     Michael Guttman                     Chester                        6
                                     FR
                                 D




       Maya Fonkeu                     Northampton                      7
                               VE
                               IE




        Brady Hill                     Northampton                      7
                             R
                           ET




   Mary Ellen Balchunis                  Dauphin                       10
                           R




       Tom DeWall                      Cumberland                      10
    Stephanie McNulty                   Lancaster                      11
       Janet Temin                      Lancaster                      11

      12.    As shown below, Petitioners reside in districts that are likely

overpopulated relative to other districts in the state. Thus, they are deprived of the

right to cast an equal vote, as guaranteed to them by the U.S. Constitution and the

Pennsylvania Constitution.

      13.    Respondent Veronica Degraffenreid is the Acting Secretary of the


                                            -6-
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 52 of 76




Commonwealth and is sued in her official capacity only. In that capacity, Acting

Secretary Degraffenreid is charged with general supervision and administration of

Pennsylvania’s elections and election laws. Acting Secretary Degraffenreid is

Pennsylvania’s Chief Election Official and a member of the Governor’s Executive

Board. Among her numerous responsibilities in administering elections, Acting

Secretary Degraffenreid is responsible for receiving election results from counties

for each congressional district in the Commonwealth, and tabulating, computing,

canvassing, certifying, and filing those results. 25 P.S. § 3159.




                                                          M
                                                        O
                                                       C
                                                      T.
      14.    Respondent Jessica Mathis is the Director for the Bureau of Election
                                                    KE
                                                   C
                                                 O
                                               YD

Services and Notaries, a branch of the Pennsylvania Department of State, and she is
                                             AC
                                            R
                                           C
                                           O




sued in her official capacity only. In this capacity, Director Mathis is charged with
                                       EM
                                       D
                                    M




supervising and administering the Commonwealth’s elections and electoral process.
                                   O
                                 FR
                               D
                             VE




The Bureau of Election Services and Notaries is responsible for planning,
                            IE
                           R
                         ET
                        R




developing, and coordinating the statewide implementation of the Election Code.

                            FACTUAL ALLEGATIONS

I.    Pennsylvania’s current congressional districts were drawn using 2010
      Census data.

      15.    Pennsylvania’s congressional district map was most recently redrawn

in 2018. On January 22, 2018, the Pennsylvania Supreme Court held that the then-

controlling congressional district map enacted in 2011 by a Republican-controlled

General Assembly and Republican Governor “plainly and palpably” violated the


                                         -7-
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 53 of 76




Pennsylvania Constitution’s Free and Equal Elections Clause because it was

“corrupted by extensive, sophisticated gerrymandering and partisan dilution.” See

League of Women Voters I, 178 A.3d at 741, 821. The Court provided the General

Assembly and the Governor an opportunity to enact a lawful map, but they failed to

do so. Thus, the Court adopted its own map on February 19, 2018. League of Women

Voters II, 181 A.3d 1083.

      16.    Because the results of the 2010 Census were the most accurate

population data to date, the Court relied exclusively on those data when drawing the




                                                         M
                                                        O
                                                       C
                                                     T.
new map. According to the 2010 Census, Pennsylvania had a population at that time
                                                   KE
                                                  C
                                                  O
                                                YD

of 12,702,379. Therefore, a decade ago, the ideal population for each of
                                             AC
                                            R
                                           C
                                           O




Pennsylvania’s congressional districts (i.e., the state’s total population divided by
                                       EM
                                       D
                                    M




the number of districts) was 705,688 persons.
                                   O
                                 FR
                               D
                             VE




      17.    While the districts crafted by the Court in 2018 had perfectly equal
                            IE
                          R
                        ET
                       R




populations (with each district’s population deviating from all others by no more

than one person), those populations were determined using 2010 data.

II.   The 2020 Census is complete.
      18.    In 2020, the U.S. Census Bureau conducted the decennial census

required by Article I, Section 2 of the U.S. Constitution. On April 26, 2021, the U.S.

Secretary of Commerce delivered the results of the 2020 Census to the President.

      19.    The results of the 2020 Census report that Pennsylvania’s resident



                                        -8-
       Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 54 of 76




population, as of April 2020, is 13,002,700. This is a significant increase from a

decade ago, when the 2010 Census reported a total population of 12,702,379.

       20.   However, because Pennsylvania’s population growth over the last

decade has been slower compared to many other states, Pennsylvania has lost a

congressional district. Pennsylvania has been apportioned 17 congressional seats for

the 2020 cycle, one fewer than the 18 seats Pennsylvania was apportioned following

the 2010 Census. Thus, beginning with the upcoming 2022 election, Pennsylvania

voters will elect only 17 members to the U.S. House of Representatives.




                                                        M
                                                       O
                                                      C
                                                     T.
       21.   According to the 2020 Census results, the ideal population for each of
                                                   KE
                                                  C
                                                 O
                                               YD

Pennsylvania’s congressional districts is 764,865.
                                             AC
                                            R
                                           C
                                           O




III.   As a result of significant population shifts in the past decade,
                                       EM




       Pennsylvania’s  congressional  districts   are  unconstitutionally
                                       D
                                   M




       malapportioned.
                                   O
                                FR
                               D
                             VE




       22.   In the past decade, Pennsylvania’s population has shifted significantly.
                           IE
                          R
                        ET




Because the 2020 Census has now been completed, the 2010 population data used
                       R




to draw Pennsylvania’s congressional districts are obsolete, and any prior

justifications for the existing maps’ deviations from population equality are no

longer applicable.

       23.   By mid-to-late August 2021, the U.S. Secretary of Commerce will

deliver to Pennsylvania its redistricting data file in a legacy format, which the

Commonwealth may use to tabulate the new population of each political



                                        -9-
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 55 of 76




subdivision. 1 On or around September 30, 2021, the U.S. Secretary of Commerce

will deliver to Pennsylvania that same detailed population data showing the new

population of each political subdivision in a tabulated format. 2 These data are

commonly referred to as “P.L. 94-171 data,” a reference to the 1975 legislation that

first required this process, and are typically delivered no later than April of the year

following the Census. See Pub. L. No. 94-171, 89 Stat. 1023 (1975).

       24.    2019 Census Bureau data make clear that significant population shifts

have occurred in Pennsylvania’s congressional districts since 2010, skewing the




                                                              M
                                                             O
                                                             C
                                                          T.
current districts far from population equality.
                                                        KE
                                                       C
                                                      O
                                                    YD

       25.    The table below estimates how the populations of each of
                                                  AC
                                                R
                                              C
                                              O




Pennsylvania’s congressional districts shifted between 2010 and 2019. For each
                                          EM
                                          D
                                       M




district, the “2010 Population” column represents the district’s 2010 population
                                      O
                                    FR
                                  D
                                VE




according to the 2010 Census, and the “2019 Population” column indicates the
                              IE
                             R
                           ET
                         R




estimated 2019 population according to the U.S. Census Bureau’s 2019 American

Community Survey (ACS) 1-Year Survey. The “Shift” column represents the

difference in district population between 2010 and 2019. The “Deviation from Ideal

2019 Population” column shows how far the estimated 2019 population of each


1
  See U.S. Census Bureau Statement on Release of Legacy Format Summary Redistricting Data
File, U.S. Census Bureau (Mar. 15, 2021), https://www.census.gov/newsroom/press-releases/
2021/statement-legacy-format-redistricting.html.
2
  See Census Bureau Statement on Redistricting Data Timeline, U.S. Census Bureau (Feb. 12,
2021),       https://www.census.gov/newsroom/press-releases/2021/statement-redistricting-data-
timeline.html.

                                           - 10 -
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 56 of 76




district strays from the estimated ideal 2019 congressional district population. And

the “Percent Deviation” column shows that deviation as a percentage of the ideal

district population as of 2019.

                                                                Deviation
              2010       2019                                  from Ideal    Percent
 District                                          Shift
            Population Population                                  2019     Deviation
                                                               Population
    1        705,687        713,411           +7,724             +2,189      +0.31%
    2        705,688        722,722           +17,034            +11,500     +1.62%
    3        705,688        741,654           +35,966            +30,432     +4.28%
    4        705,687        730,701           +25,014            +19,479     +2.74%
    5        705,688        719,973           +14,285            +8,751      +1.23%




                                                           M
                                                           O
    6        705,688        735,283           +29,595            +24,061     +3.38%


                                                           C
                                                          T.
                                                        KE
    7        705,688        731,467           +25,779            +20,245     +2.85%
                                                       C
                                                      O
    8        705,687        698,973            -6,714            -12,249     -1.72%
                                                    YD


    9        705,687        699,832            -5,855            -11,390     -1.60%
                                               AC
                                              R




    10       705,688        744,681           +38,993            +33,459     +4.70%
                                            C
                                           O
                                       EM




    11       705,688        734,038           +28,350            +22,816     +3.21%
                                       D




    12       705,688        701,387            -4,301             -9,835     -1.38%
                                      M
                                   O




    13       705,688        697,051            -8,637            -14,171     -1.99%
                                  FR
                               D




    14       705,688        678,915           -26,773            -32,307     -4.54%
                             VE
                            IE




    15       705,688        672,749           -32,939            -38,473     -5.41%
                           R
                         ET




    16       705,687        678,333           -27,354            -32,889     -4.62%
                       R




    17       705,688        706,961           +1,273              -4,261     -0.60%
    18       705,688        693,858           -11,830            -17,364     -2.44%

      26.    The table above indicates population shifts since 2010 have rendered

Congressional Districts 8, 9, 12, 13, 14, 15, 16, 17, and 18 significantly

underpopulated, and Congressional Districts 1, 2, 3, 4, 5, 6, 7, 10, and 11

significantly overpopulated. Indeed, the figures in the table above indicate that,

between 2010 and 2019, the maximum deviation among Pennsylvania’s 18



                                          - 11 -
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 57 of 76




congressional districts (i.e., the difference between the most and least populated

districts divided by the ideal district population) increased from 0 to more than 10

percent. Notably, this table does not account for the severe malapportionment that

will result from the fact that Pennsylvania has lost a congressional district.

      27.    Due to these population shifts, Pennsylvania’s existing congressional

district configuration is unconstitutionally malapportioned. It also contains more

districts than the number of representatives that Pennsylvanians may send to the U.S.

House in 2022.




                                                           M
                                                          O
                                                         C
                                                       T.
      28.    If used in any future election, the current congressional district
                                                     KE
                                                    C
                                                    O
                                                  YD

configuration will unconstitutionally dilute the strength of Petitioners’ votes because
                                              AC
                                             R
                                            C
                                            O




they live in districts with populations that are significantly larger than those in which
                                        EM
                                        D
                                     M




other voters live.
                                    O
                                  FR
                                D
                              VE




IV.   Pennsylvania’s political branches will likely fail to enact lawful
                            IE
                           R




      congressional district maps in time for the next election.
                         ET
                        R




      29.    In Pennsylvania, congressional district plans are enacted via legislation,

which must pass both chambers of the General Assembly and be signed by the

Governor (unless the General Assembly overrides the Governor’s veto by a two-

thirds vote in both chambers). League of Women Voters I, 178 A.3d at 742; Pa.

Const., Art. III, § 4; Pa. Const., Art. IV, § 15. Currently, both chambers of

Pennsylvania’s General Assembly are controlled by the Republican Party, and the

Governor is a Democrat. Republican control of the General Assembly is not large


                                         - 12 -
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 58 of 76




enough to override a gubernatorial veto. This partisan division among

Pennsylvania’s political branches makes it extremely unlikely they will enact a

lawful congressional districting plan in time to be used during the upcoming 2022

election.

      30.    Pennsylvania law does not set a deadline by which congressional

redistricting plans must be in place prior to the first congressional election following

release of the Census. Nonetheless, it is in the interests of voters, candidates, and

Pennsylvania’s entire electoral apparatus that finalized congressional districts be put




                                                          M
                                                         O
                                                        C
                                                      T.
in place as soon as possible, well before candidates in those districts must begin to
                                                    KE
                                                   C
                                                    O
                                                  YD

collect signatures on their nomination papers. Potential congressional candidates
                                              AC
                                             R
                                            C
                                            O




cannot make strategic decisions—including, most importantly, whether to run at
                                        EM
                                        D
                                     M




all—without knowing their district boundaries. And voters have a variety of interests
                                    O
                                 FR
                                D
                              VE




in knowing as soon as possible the districts in which they reside and will vote, and
                            IE
                           R
                         ET
                        R




the precise contours of those districts. These interests include deciding which

candidates to support and whether to encourage others to run; holding elected

representatives accountable for their conduct in office; and advocating for and

organizing around candidates who will share their views, including by working

together with other district voters in support of favored candidates.

      31.    Nomination papers for candidates seeking to appear on the ballot for

the 2022 partisan primary election can be circulated as early as February 15, 2022,


                                         - 13 -
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 59 of 76




less than a year away. 25 P.S. § 2868. And the deadline for filing those papers falls

just a few weeks later. Id. It is in everyone’s interest—candidates and voters alike—

that district boundaries are set well before this date. Delaying the adoption of the

new plan even until the ballot petition deadline will substantially interfere with

Petitioners’ abilities to associate with like-minded citizens, educate themselves on

the positions of their would-be representatives, and advocate for the candidates they

prefer. Cf. Anderson v. Celebrezze, 460 U.S. 780, 787-88 (1983) (“The [absence] of

candidates also burdens voters’ freedom of association, because an election




                                                          M
                                                         O
                                                        C
                                                      T.
campaign is an effective platform for the expression of views on the issues of the
                                                    KE
                                                   C
                                                    O
                                                  YD

day, and a candidate serves as a rallying point for like-minded citizens.”).
                                              AC
                                             R
                                            C
                                            O




      32.    While the General Assembly was able to enact redistricting plans after
                                        EM
                                        D
                                     M




the 2010 Census without court intervention, Republicans had trifecta control over
                                    O
                                 FR
                                D
                              VE




the state government at that time. The last time Pennsylvania began a redistricting
                            IE
                           R
                         ET
                        R




cycle with political branches divided along partisan lines, as they are now, they failed

to enact a new congressional redistricting plan. This failure required intervention by

Pennsylvania’s judiciary, which drew and adopted a congressional district map.

Mellow, 607 A.2d 204. Similarly, after the Pennsylvania Supreme Court invalidated

Pennsylvania’s congressional plan three years ago, the Republican-controlled

General Assembly was unable to come to agreement with Governor Wolf on a new

plan, forcing the Court to draw a remedial map. League of Women Voters II, 181


                                         - 14 -
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 60 of 76




A.3d at 1086.

      33.    Pennsylvania is once again entering a redistricting cycle with political

branches divided between the two major parties. If anything, the partisan differences

among the major parties have only grown starker since their last attempt to reach

consensus on redistricting plans in 1991. In just the last two years, Governor Wolf

and the Republican-controlled General Assembly have repeatedly conflicted over a

broad range of policies such as the state’s response to the COVID-19 pandemic,

emergency executive powers, environmental issues, and gun regulations, with the




                                                         M
                                                        O
                                                       C
                                                     T.
Governor using his veto power on numerous occasions. Additionally, the Census
                                                   KE
                                                  C
                                                   O
                                                 YD

delays have compressed the amount of time during which the legislative process
                                             AC
                                            R
                                           C
                                           O




would normally take place. As a result, the political branches are highly likely to be
                                       EM
                                       D
                                    M




at an impasse this cycle and to fail to enact a new congressional district plan. This
                                   O
                                 FR
                               D
                             VE




would deprive Petitioners of equal representation in Congress and their freedom of
                            IE
                          R
                        ET
                       R




association. To avoid such an unconstitutional outcome, this Court must intervene

to ensure Petitioners and other Pennsylvanians’ voting strength is not diluted.

                             CLAIMS FOR RELIEF

                                      COUNT I

                  Violation of Free and Equal Elections Clause
                              Pa. Const., Art. I, § 5
                       Congressional Malapportionment

      34.    Petitioners reallege and reincorporate by reference all prior paragraphs



                                        - 15 -
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 61 of 76




of this Petition and the paragraphs in the count below as though fully set forth herein.

      35.    The Pennsylvania Constitution’s Free and Equal Elections Clause

provides: “Elections shall be free and equal; and no power, civil or military, shall at

any time interfere to prevent the free exercise of the right of suffrage.” Pa. Const.,

Art. I, § 5. This clause “should be given the broadest interpretation, one which

governs all aspects of the electoral process, and which provides the people of this

Commonwealth an equally effective power to select the representative of his or her

choice, and bars the dilution of the people’s power to do so.” League of Women




                                                          M
                                                         O
                                                         C
                                                       T.
Voters I, 178 A.3d at 814.
                                                     KE
                                                    C
                                                     O
                                                   YD

      36.    The Free and Equal Elections Clause “establishe[s] a critical ‘leveling’
                                              AC
                                             R
                                            C
                                            O




protection in an effort to establish the uniform right of the people of this
                                        EM
                                        D
                                     M




Commonwealth to select their representatives in government.” Id. at 807.
                                    O
                                  FR
                                D
                              VE




      37.    The “equality” prong of the Free and Equal Elections Clause requires
                             IE
                           R
                         ET
                        R




that voting districts be drawn “by laws which shall arrange all the qualified electors

into suitable districts, and make their votes equally potent in the election; so that

some shall not have more votes than others, and that all shall have an equal share.”

Id. at 809 (quoting Patterson, 60 Pa. at 75). Thus, any scheme that “has the effect of

impermissibly diluting the potency of an individual’s vote for candidates for elective

office relative to that of other voters will violate the guarantee of ‘free and equal’

elections afforded by Article I, Section 5.” Id.


                                         - 16 -
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 62 of 76




      38.    Pennsylvania’s current congressional district plan places voters into

districts with significantly disparate populations, causing voters in underpopulated

districts to have more “potent” votes compared to voters, like Petitioners, who live

in districts with comparatively larger populations.

      39.    Any future use of Pennsylvania’s current congressional district plan

would violate Petitioners’ right to an undiluted vote under the Free and Equal

Elections Clause.

                                      COUNT II




                                                          M
                                                         O
                                                        C
                                                      T.
       Violation of Article I, Section 2 of the United States Constitution
                                                    KE
                                                   C
                      Congressional MalapportionmentO
                                                  YD
                                              AC



      40.    Petitioners reallege and reincorporate by reference all prior paragraphs
                                             R
                                            C
                                            O
                                        EM




of this Petition and the paragraphs in the count below as though fully set forth herein.
                                        D
                                     M
                                    O
                                 FR




      41.    Article 1, Section 2 of the U.S. Constitution provides that members of
                                D
                              VE
                            IE




the U.S. House of Representatives “shall be apportioned among the several
                           R
                         ET
                        R




States . . . according to their respective Numbers.” This provision “intends that when

qualified voters elect members of Congress each vote be given as much weight as

any other vote,” Wesberry, 376 U.S. at 7, meaning that state congressional districts

must “achieve population equality ‘as nearly as is practicable,’” Karcher, 462 U.S.

at 730 (quoting Wesberry, 376 U.S. at 7-8).

      42.    Article I, Section 2 “permits only the limited population variances

which are unavoidable despite a good-faith effort to achieve absolute equality, or for


                                         - 17 -
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 63 of 76




which justification is shown.” Karcher, 462 U.S. at 730 (quoting Kirkpatrick v.

Preisler, 394 U.S. 526, 531 (1969)). And “the State must justify each variance, no

matter how small.” Id. (quoting Kirkpatrick, 394 U.S. at 530-31). Given this

requirement, when the Pennsylvania Supreme Court adopted its own congressional

plan in 2018, it crafted a plan in which the population deviation among districts was

no more than one person. Now, as indicated in the table above, the population

deviation among Pennsylvania’s congressional districts may be as high as 71,932

people.




                                                          M
                                                         O
                                                        C
                                                      T.
      43.    In light of the significant population shifts that have occurred since the
                                                    KE
                                                   C
                                                    O
                                                  YD

2010 Census, and the recent publication of the results of the 2020 Census, the current
                                              AC
                                             R
                                            C
                                            O




configuration of Pennsylvania’s congressional districts—which was drawn based on
                                        EM
                                        D
                                     M




2010 Census data—is now unconstitutionally malapportioned. No justification can
                                    O
                                 FR
                                D
                              VE




be offered for the deviation among the congressional districts because any
                            IE
                           R
                         ET
                        R




justification would be based on outdated population data.

      44.    Any future use of Pennsylvania’s current congressional district plan

would violate Petitioners’ constitutional right to cast an equal, undiluted vote.

                                     COUNT III

                            Violation of 2 U.S.C. § 2c
                         Congressional Malapportionment

      45.    Petitioners reallege and reincorporate by reference all prior paragraphs

of this Petition and the paragraphs in the count below as though fully set forth herein.

                                         - 18 -
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 64 of 76




      46.    2 U.S.C. § 2c provides that, in a state containing “more than one

Representative,” “there shall be established by law a number of districts equal to the

number of Representatives to which such State is so entitled.”

      47.    Pennsylvania’s current congressional district plan contains 18 districts.

But Pennsylvania is currently allotted only 17 seats in the U.S. House. As a result,

the current congressional district plan violates Section 2c’s requirement that the

number of congressional districts be “equal to the number of Representatives to

which [Pennsylvania] is so entitled.”




                                                          M
                                                         O
                                                        C
                                                      T.
      48.    Any future use of Pennsylvania’s current congressional district plan
                                                    KE
                                                   C
                                                    O
                                                  YD

would violate 2 U.S.C. § 2c and would unlawfully dilute Petitioners’ votes.
                                              AC
                                             R
                                            C
                                            O




                                     COUNT IV
                                        EM
                                        D
                                     M




                            Violation of Petition Clause
                                    O
                                 FR




                              Pa. Const., Art. I, § 20
                                D
                              VE




                             Freedom of Association
                            IE
                           R
                         ET




      49.    Petitioners reallege and reincorporate by reference all prior paragraphs
                        R




of this Petition and the paragraphs in the count below as though fully set forth herein.

      50.    The Pennsylvania Constitution’s Petition Clause provides: “The

citizens have a right in a peaceable manner to assemble together for their common

good, and to apply to those invested with the powers of government for redress of

grievances or other proper purposes, by petition, address or remonstrance.” Pa.

Const., Art. I, § 20. “The Pennsylvania Constitution affords greater protection of



                                         - 19 -
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 65 of 76




speech and associational rights than does our Federal Constitution.” Working

Families Party v. Commonwealth, 169 A.3d 1247, 1260 (Pa. Commw. Ct. 2017)

(citing DePaul v. Commonwealth, 969 A.2d 536, 546 (Pa. 2009)); see also

Commonwealth v. Tate, 432 A.2d 1382, 1388 (Pa. 1981) (“It is small wonder, then,

that the rights of freedom of speech, assembly, and petition have been guaranteed

since the first Pennsylvania Constitution, not simply as restrictions on the powers of

government, as found in the Federal Constitution, but as inherent and ‘invaluable’

rights of man.”).




                                                            M
                                                          O
                                                         C
                                                       T.
      51.    Impeding candidates’ abilities to run for political office—and
                                                     KE
                                                    C
                                                     O
                                                   YD

consequently Petitioners’ abilities to assess candidate qualifications and positions,
                                               AC
                                              R
                                            C
                                            O




organize and advocate for preferred candidates, and associate with like-minded
                                         EM
                                        D
                                      M




voters—infringes on Petitioners’ right to association.
                                    O
                                  FR
                                D
                              VE




      52.    Given the delay in publication of the 2020 Census data and the near-
                             IE
                            R
                          ET
                        R




certain deadlock among the political branches in adopting a new congressional

district plan, it is significantly unlikely that the legislative process will timely yield

a new plan. This would deprive Petitioners of the ability to associate with others

from the same lawfully apportioned congressional district, and, therefore, is likely

to significantly, if not severely, burden Petitioners’ right to association.

      53.    There is no legitimate or compelling interest that can justify this burden.




                                          - 20 -
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 66 of 76




                              PRAYER FOR RELIEF

WHEREFORE, Petitioners respectfully request that this Court:

      a. Declare that the current configuration of Pennsylvania’s congressional

         districts violates Article I, Section 5 of the Pennsylvania Constitution;

         Article I, Section 2 of the U.S. Constitution; 2 U.S.C. § 2c; and Article I,

         Section 20 of the Pennsylvania Constitution;

      b. Enjoin Respondents, their respective agents, officers, employees, and

         successors, and all persons acting in concert with each or any of them, from




                                                          M
                                                          O
                                                       C
                                                      T.
         implementing, enforcing, or giving any effect to Pennsylvania’s current
                                                    KE
                                                   C
                                                   O
                                                 YD

         congressional district plan;
                                              AC
                                             R
                                            C
                                            O




      c. Establish a schedule that will enable the Court to adopt and implement a
                                        EM
                                        D
                                    M




         new congressional district plan by a date certain should the political
                                    O
                                   FR
                                D
                              VE




         branches fail to enact such plan by that time;
                              IE
                          R
                        ET
                       R




      d. Implement a new congressional district plan that complies with Article I,

         Section 5 of the Pennsylvania Constitution; Article I, Section 2 of the U.S.

         Constitution; 2 U.S.C. § 2; and Article I, Section 20 of the Pennsylvania

         Constitution, if the political branches fail to enact a plan by a date certain

         set by this Court;

      e. Award Petitioners their costs, disbursements, and reasonable attorneys’

         fees; and


                                        - 21 -
    Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 67 of 76




     f. Grant such other and further relief as the Court deems just and proper.



Dated: April 26, 2021                          Respectfully submitted,

Marc E. Elias                                  /s/ Edward D. Rogers
Aria C. Branch                                 Edward D. Rogers, No. 69337
Lalitha D. Madduri                             Marcel S. Pratt, No. 307483
Christina A. Ford                              Robert J. Clark, No. 308105
Jyoti Jasrasaria                               Michael R. McDonald, No. 326873
Perkins Coie LLP                               Paul K. Ort, No. 326044
700 Thirteenth Street NW Suite 800             Ballard Spahr LLP
Washington, D.C. 20005-3960                    1735 Market Street, 51st Floor
MElias@perkinscoie.com                         Philadelphia, PA 19103




                                                         M
ABranch@perkinscoie.com                        RogersE@ballardspahr.com




                                                        O
                                                       C
LMadduri@perkinscoie.com                       PrattM@ballardspahr.com


                                                     T.
                                                   KE
ChristinaFord@perkinscoie.com                  ClarkR@ballardspahr.com
                                                  C
                                                 O
JJasrasaria@perkinscoie.com                    McDonaldM@ballardspahr.com
                                               YD
                                            AC



T: (202) 654-6200                              OrtP@ballardspahr.com
                                           R
                                          C




F: (202) 654-6211                              T: (215) 665-8500
                                          O
                                      EM




                                               F: (215) 864-8999
                                      D




Abha Khanna
                                  M
                                  O
                                 FR




Perkins Coie LLP
                              D




1201 Third Avenue, Suite 4900
                            VE
                            IE




Seattle, WA 98101-3099
                          R
                        ET




AKhanna@perkinscoie.com
                        R




T: (206) 359-8000
F: (206) 359-9000




                                      - 22 -
     Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 68 of 76




                     CERTIFICATE OF COMPLIANCE

      I certify that this filing complies with the provisions of the Case Records

Public Access Policy of the Unified Judicial System of Pennsylvania that require

filing confidential information and documents differently than non-confidential

information and documents.




                                       Submitted by: Edward D. Rogers




                                                          M
                                                         O
                                       Signature:      /s/ Edward D. Rogers


                                                        C
                                                       T.
                                                     KE
                                       Name:        C  Edward D. Rogers
                                                   O
                                                 YD
                                             AC



                                       Attorney No.: 69337
                                            R
                                           C
                                           O
                                       EM
                                       D
                                   M
                                   O
                               FR
                               D
                             VE
                          IE
                         R
                       ET
                      R




                                        - 23 -
Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 69 of 76
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 70 of 76




                             NOTICE TO PLEAD

TO:                Acting Secretary Veronica Degraffenreid
                   Pennsylvania Department of State
                   Office of the Secretary
                   302 North Office Building, 401 North Street
                   Harrisburg, PA 17120

                   Director Jessica Mathis
                   Pennsylvania Bureau of Election Services and Notaries
                   210 North Office Building, 401 North Street
                   Harrisburg, PA 17120



            You are hereby notified to file a written response to the enclosed

Petition for Review within thirty (30) days from service hereof or a judgment may

be entered against you.



Dated:      April 26, 2010

                                                   /s/ Robert J. Clark
                                                   Robert J. Clark, No. 308105
                                                   Ballard Spahr LLP
                                                   1735 Market Street, 51st Floor
                                                   Philadelphia, PA 19103
                                                   Clarkr@ballardspahr.com
                                                   T: (215) 665-8500
                                                   F: (215) 864-8999




                                      - 25 -
       Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 71 of 76




                          CERTIFICATE OF SERVICE

       I hereby certify that on the date set forth below, I caused the foregoing

Petition for Review to be served upon the following parties and in the manner

indicated below, which service satisfies the requirements of Pa. R.A.P. 1514 and

121:

                    By Certified Mail:

                    Acting Secretary Veronica Degraffenreid
                    Pennsylvania Department of State
                    Office of the Secretary
                    302 North Office Building, 401 North Street
                    Harrisburg, PA 17120

                    Director Jessica Mathis
                    Pennsylvania Bureau of Election Services and Notaries
                    210 North Office Building, 401 North Street
                    Harrisburg, PA 17120



Dated:       April 26, 2021

                                                     /s/ Robert J. Clark
                                                     Robert J. Clark, No. 308105
                                                     Ballard Spahr LLP
                                                     1735 Market Street, 51st Floor
                                                     Philadelphia, PA 19103
                                                     Clarkr@ballardspahr.com
                                                     T: (215) 665-8500
                                                     F: (215) 864-8999




                                         - 26 -
Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 72 of 76




                 EXHIBIT C
      Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 73 of 76




       IN THE COMMONWEALTH COURT OF PENNSYLVANIA

Carol Ann Carter, Monica Parrilla,       :     CASES CONSOLIDATED
Rebecca Poyourow, William Tung,          :
Roseanne Milazzo, Burt Siegel,           :
Susan Cassanelli, Lee Cassanelli,        :
Lynn Wachman, Michael Guttman,           :
Maya Fonkeu, Brady Hill, Mary Ellen      :
Balchunis, Tom DeWall,                   :
Stephanie McNulty and Janet Temin,       :
                        Petitioners      :
                                         :
                   v.                    :     No. 464 M.D. 2021
                                         :
Veronica Degraffenreid, in her official :
capacity as the Acting Secretary of the :
Commonwealth of Pennsylvania;            :
Jessica Mathis, in her official capacity :
as Director for the Pennsylvania Bureau :
of Election Services and Notaries,       :
                           Respondents :


Philip T. Gressman; Ron Y. Donagi;       :
Kristopher R. Tapp; Pamela Gorkin;       :
David P. Marsh; James L. Rosenberger;    :
Amy Myers; Eugene Boman;                 :
Gary Gordon; Liz McMahon;                :
Timothy G. Feeman; and Garth Isaak,      :
                         Petitioners     :
                                         :
                    v.                   :     No. 465 M.D. 2021
                                         :
Veronica Degraffenreid, in her official :
capacity as the Acting Secretary of the :
Commonwealth of Pennsylvania;            :
Jessica Mathis, in her official capacity :
as Director for the Pennsylvania Bureau :
of Election Services and Notaries,       :
                            Respondents :
     Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 74 of 76




                                     ORDER

              AND NOW, this 14th day of January, 2022, in consideration of the
petitions to intervene and the applications for expedited review and the responses
thereto filed in the above-consolidated actions, it is hereby ORDERED:

   1. This Order supersedes this Court’s December 20, 2021 Order.

   2. The Applications for Leave to Intervene of: (i) the Speaker and Majority
      Leader of the Pennsylvania House of Representative and the President Pro
      Tempore and Majority Leader of the Pennsylvania Senate, (ii) Pennsylvania
      State Senators Maria Collett, Katie J. Muth, Sharif Street, and Anthony H.
      Williams; (iii) Tom Wolf, Governor of the Commonwealth of Pennsylvania;
      (iv) Senator Jay Costa and members of the Democratic Caucus of the Senate
      of Pennsylvania; (v) Representative Joanna E. McClinton, Leader of the
      Democratic Caucus of the Pennsylvania House of Representatives; and (vi)
      Congressman Guy Reschenthaler, Swatara Township Commissioner Jeffrey
      Varner, Tom Marino, Ryan Costello, and Bud Shuster are GRANTED.

      Pursuant to the Notice of Amendment and Joinder from Senate Democratic
      Caucus Intervenors and Democratic Senator Intervenors, the Applications for
      Leave to Intervene of: (i) Pennsylvania State Senators Maria Collett, Katie J.
      Muth, Sharif Street, and Anthony H. Williams; and (ii) Senator Jay Costa and
      members of the Democratic Caucus of the Senate of Pennsylvania are hereby
      joined, and these individuals shall constitute a single party. The Application
      for Intervention filed by Democratic Senator Intervenors shall be withdrawn.
      Democratic Senator Intervenors are added to the Senate Democratic Caucus
      Intervenors’ Application for Intervention.

      These intervenors which are hereinafter referred to as Parties shall be allowed
      to participate in these consolidated actions as parties. Any answers to the
      Petitions for Review attached to applications to intervene as exhibits are
      deemed filed.

   3. All Parties shall submit for the Court’s consideration at least one (1) but no
      more than two (2) proposed 17-district congressional redistricting plan(s) that
      are consistent with the results of the 2020 Census and, if the party chooses to
  Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 75 of 76




   do so, a supporting brief and/or a supporting expert report, by 5:00 p.m. on
   Monday, January 24, 2022.

4. Parties must file a responsive brief and/or a responsive expert report (from the
   same expert who prepared the January 24 report or any other expert),
   addressing other parties’ January 24 submissions, by 5:00 p.m. on
   Wednesday, January 26, 2022.

5. The Applications for Leave to Intervene as parties filed by (i) Voters of the
   Commonwealth of Pennsylvania; (ii) Citizen-Voters; (iii) Draw the Lines-PA;
   and (iv) Khalif Ali et al. are DENIED.

   Voters of the Commonwealth of Pennsylvania, Citizen-Voters, Draw the
   Lines-PA, and Khalif Ali et al., are permitted to participate in these matters as
   Amicus Participants, which means that their participation shall be limited to
   submissions to the Court in writing as set forth in Paragraph 6 of this Order.

6. Amicus Participants who wish to submit for the Court’s consideration one (1)
   proposed 17-district congressional redistricting map/plan that is consistent
   with the results of the 2020 Census shall file the proposed map/plan and, if
   the Amicus Participant chooses to do so, a supporting brief and/or a
   supporting expert report, by 5:00 p.m. on Monday, January 24, 2022.

7. All proposed 17-district congressional redistricting maps/plans shall comply
   with constitutional standards and any other standards required by law.

8. After submission, no proposed plan/map may be later modified or amended.

9. No Party or Amicus Participant may take discovery in this matter.

10.The Parties shall submit to the Court a Joint Stipulation of Facts by 2:00 p.m.
   on Wednesday, January 26, 2022.

11.The Court shall conduct an evidentiary hearing on Thursday, January 27,
   2022, and Friday, January 28, 2022, participation in which is limited to the
   Parties as identified herein. The hearing will begin at 9:30 a.m. in Courtroom
   3001 of the Pennsylvania Judicial Center, Harrisburg, PA. It shall be the
   responsibility of Petitioners to secure the services of a court reporter(s)
  Case 1:22-cv-00208-JPW Document 49-7 Filed 02/27/22 Page 76 of 76




   throughout the duration of the hearing. Each Party is limited to presenting
   one witness at the hearing, who shall be subject to cross examination by the
   other Parties. Opening and closing statements and argument by Parties shall
   be permitted. The Court will also consider revisions to the 2022 election
   schedule/calendar as part of the hearing.

12.If the General Assembly has not produced a new congressional map by
   January 30, 2022, the Court shall proceed to issue an opinion based on the
   hearing and evidence presented by the Parties.



                                      s/ Patricia A. McCullough
                                      PATRICIA A. McCULLOUGH, Judge




                                                                     Order Exit
                                                                     01/14/2022
